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  12                       UNITED STATES DISTRICT COURT
  13                     CENTRAL DISTRICT OF CALIFORNIA
  14

  15   KARMA AUTOMOTIVE LLC, a                 CASE NO.:
  16
       California limited liability company,
                                               COMPLAINT FOR TEMPORARY
  17                      Plaintiff,           AND PRELIMINARY INJUNCTIVE
                                               RELIEF AND DAMAGES:
  18           v.
                                                   1. Violation of the Computer Fraud
  19   LORDSTOWN MOTORS CORP., an                     & Abuse Act, 18 U.S.C. §§ 1030,
       Ohio corporation; STEVE BURNS, an              et seq.—Count I;
  20   individual, JOHN LEFLEUR, an                2. Violation of the Computer Fraud
       individual, DARREN POST, an                    & Abuse Act, 18 U.S.C. §§ 1030,
  21   individual, RICH SCHMIDT, an                   et seq.—Count II;
       individual, ROGER J. DURRE, an              3. Misappropriation of Trade Secrets
  22   individual, HONG XIN HUAN                      in Violation of the Defend Trade
       (A.K.A “GEORGE” HUAN), an                      Secrets Act, 18 U.S.C. § 1836, et
  23                                                  seq.;
       individual, and DOES 1 through 50,
  24   inclusive,                                  4. Misappropriation of Trade Secrets
                                                      in Violation of the California
  25                      Defendants.                 Uniform Trade Secrets Act, Cal.
                                                      Civ. Code §§ 3426.1 et seq.;
  26                                               5. Breach of Contract – Count I;
                                                   6. Breach of Contract – Count II;
  27                                               7. Tortious Interference with
                                                      Contract – Count I;
  28                                               8. Tortious Interference with
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   1                                                     Contract – Count II;
                                                     9. Unfair Competition in Violation of
   2                                                     Cal. Bus. & Prof. Code § 17200 et
                                                         seq.;
   3                                                 10. Breach of Duty of Loyalty.
   4

   5           Plaintiff Karma Automotive LLC (“Plaintiff” or the “Karma”), by and
   6   through its undersigned counsel, hereby brings this Complaint for temporary and
   7   preliminary injunctive relief and damages against Defendants Lordstown Motors
   8   Corp. (“LMC”), four LMC executives named Steve Burns, John LeFleur, Darren
   9   Post, and Rich Schmidt (“LMC Individual Defendants”), and former Karma
  10   employees Roger “Joe” Durre and Hong Xin “George” Huan (“Employee
  11   Defendants”) and, in support thereof, avers as follows:
  12                                   I. INTRODUCTION
  13           1.      This is a classic corporate espionage case where a luxury electric
  14   automotive company (LMC) stole another automotive company’s (Karma) trade
  15   secrets and poached its employees. LMC brazenly stole secrets about Karma’s
  16   infotainment system and poached a specialized team of Karma employees (from
  17   project managers to engineers) who were designing it. LMC had a “Trojan Horse”
  18   strategy. LMC pretended to be engaged in a five-month due diligence period,
  19   culminating in a fraudulent “partnership letter” and a promise that the first payment
  20   would be issued shortly. The courtship was a ruse; the check never arrived. Instead,
  21   LMC secretly poached and onboarded key Karma employees and started stealing
  22   Karma’s secrets. LMC pulled out of the fake deal at the last minute so it could use
  23   Karma’s stolen trade secret and confidential information to create its own “LMC
  24   Infotainment Group” (which never existed before) in California (where LMC had
  25   no presence prior) in order to save itself $4.6 Million. In short, LMC cut out the
  26   middle man (Karma) out and stole its ideas and employees in order to save money.
  27   This project was projected to bring in over Three Billion Dollars ($3,000,000,000)
  28   in revenue by 2024 to Karma.
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   1           2.      In fact, the forensic evidence conducted to date shows that almost
   2   immediately after entering into a non-disclosure agreement with Karma, LMC
   3   systematically planned to poach Karma’s employees, one employee at a time, while
   4   at the same time reviewing and having those employees copy trade secret and
   5   confidential information and exploring the possibility of creating its own “LMC
   6   Infotainment Group.” Not only that, LMC apparently incentivized at least two of
   7   Karma’s former employees to accept job offers from and begin to work for LMC
   8   while they were still employed by and working for Karma so they could ensure that
   9   these employees downloaded, saved, and sent to their personal email addresses all
  10   of Karma’s confidential and proprietary information to help LMC start the new
  11   “LMC Infotainment Group” and recreate the technology itself, which they did.
  12           3.      In short, contrary to LMC’s slogan on its website which states “If you
  13   want something better, Work for It,” here, LMC’s actions followed this slogan
  14   instead:
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  24                               II. SUMMARY OF ACTION
  25           4.      LMC gained access to Karma’s trade secrets for five months while
  26   pretending to engage with Karma in due diligence over a deal with Karma that was
  27   projected to bring in over Three Billion Dollars ($3,000,000,000) in revenue by
  28   2024. After leading Karma down this path and promising that it would be issuing
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   1   its first payment shortly, LMC suddenly cancelled the deal. It turns out that LMC
   2   was conspiring and colluding with Defendant Durre, Karma’s key manager who
   3   was supposed to be working to secure this deal for Karma but instead was playing
   4   double agent. LMC, which until now has had no employees or operations in
   5   California, made a side deal with Durre to recruit over to LMC his entire Karma
   6   team that was working on the LMC project along with all the Karma trade secrets,
   7   confidential information, work product, and know-how that LMC needed to
   8   develop the project in-house without Karma.
   9           5.      Karma recently uncovered forensic evidence showing that, several
  10   days before cancelling the deal with Karma, LMC hired and on-boarded Roger J.
  11   Durre (“Durre”, referred to as “Joe”), Karma’s Director of Engineering and one of
  12   the key project managers on the proposed deal with LMC who himself had on
  13   behalf of Karma signed the Mutual Non-Disclosure Agreement (“MNDA”)
  14   between Karma and LMC, and Defendant Durre performed significant work for
  15   LMC for several weeks while still employed by Karma with access to all its trade
  16   secrets. As an agent for LMC during the weeks in which he was employed by both
  17   entities, Durre downloaded and copied electronic files containing Karma’s trade
  18   secrets and then attempted to permanently delete thousands of files from Karma’s
  19   computer system.
  20           6.      This conspiracy was directed and orchestrated by LMC’s top
  21   executives who are named in this Complaint. According to LMC’s own estimate,
  22   as stated in an email from a top LMC executive to Durre seven days before LMC
  23   cancelled the deal with Karma, by stealing Karma’s trade secrets and hiring the
  24   Karma team that worked with those trade secrets, LMC expected to save $4.6
  25   million over what it would have paid Karma had LMC proceeded with the deal.
  26   LMC’s project “Endurance,” as it was called, with all of the devastating and
  27   irreparable harm it intended to do to Karma, would have been more accurately
  28   named project “Espionage.”
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   1           7.      Once LMC and Durre had taken substantial steps to steal Karma’s
   2   trade secrets, and after Durre had secretly begun working for LMC while
   3   continuing to work for Karma, LMC abruptly terminated its partnership with
   4   Karma and proceeded to use the stolen trade secret information to work on
   5   developing the same infotainment package that Karma had been developing. LMC,
   6   Durre, and other former Karma employees and contractors now working for LMC
   7   continue to engage in their malicious conduct by continuing to use Karma’s
   8   confidential and trade secret information to raid Karma’s employees to leave their
   9   employment with Karma and join LMC.
  10           8.      As a result of LMC’s, Durre’s, and others’ intentional and malicious
  11   conduct, Karma was defrauded of millions of dollars in development resources and
  12   time spent on the LMC deal, a deal that based on LMC’s projected volume would
  13   have resulted in over three billion dollars ($3,000,000,000) in revenue for Karma.
  14           9.      In addition, Karma’s valuable trade secrets are currently in the
  15   possession of LMC, Defendants Durre and Hong Xin “George” Huan (“Huan”),
  16   Karma’s Software Systems Architect, who was also hired by LMC and downloaded
  17   and copied Karma’s confidential information while concurrently working for
  18   Karma, and the other former Karma employees. These Defendants’ continued
  19   possession of Karma’s trade secrets risks irreparable harm to Karma and the loss
  20   of tens of millions of dollars in research and development. Karma has also been
  21   irreparably harmed by the sudden and secret defection to LMC of at least ten (10)
  22   of Karma’s employees and contractors who were part of Karma’s infotainment
  23   team. Due to their particular job duties, Durre, Huan, and other key members of the
  24   infotainment team were granted an exception to Karma’s policy preventing
  25   activation of USB ports on Karma computers. However, they abused that special
  26   exception by downloading thousands of files containing Karma’s trade secrets and
  27   confidential information to external storage devices and failing to return this
  28   information to Karma.
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   1            10.    Karma seeks immediate injunctive relief from this Court to compel
   2   Defendants to refrain from disclosing and using any of Karma’s confidential and
   3   trade secret information and to order them to return to Karma the property that they
   4   stole.
   5            11.    Karma will be irreparably harmed if Defendants are not ordered to:
   6   return the property that they stole; cease interfering with Karma’s employment
   7   agreements with its current employees, and cease operating in direct competition
   8   with Karma using its confidential and trade secret information.
   9                                      II. THE PARTIES
  10            12.    Karma Automotive LLC is a manufacturer of luxury electric vehicles,
  11   components, hardware, and software, maintaining its principal place of business in
  12   Orange County, California. Karma is licensed to conduct business in California.
  13   Karma conducts business throughout the United States.
  14            13.    Plaintiff is informed and believes and, on that basis, alleges that
  15   Lordstown Motors Corporation (“LMC”) is a manufacturer of vehicles,
  16   maintaining its principal place of business in Ohio.
  17            14.    Plaintiff is informed and believes and, on that basis, alleges that Steve
  18   Burns (“Burns”) is a resident of the State of Ohio. Burns is the Chief Executive
  19   Officer of LMC.
  20            15.    Plaintiff is informed and believes and, on that basis, alleges that John
  21   LeFleur (“LeFleur”) is a resident of the State of Ohio. LeFleur is the Chief
  22   Operations Officer of LMC.
  23            16.    Plaintiff is informed and believes and, on that basis, alleges that
  24   Darren Post (“Post”) is a resident of the State of Ohio. Post is the Chief Technology
  25   Officer of LMC.
  26            17.    Plaintiff is informed and believes and, on that basis, alleges that Rich
  27   Schmidt (“Schmidt”) is a resident of the State of Ohio. Schmidt is the Chief
  28   Production Officer of LMC.
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   1           18.     Plaintiff is informed and believes and, on that basis, alleges that Roger
   2   “Joe” Durre (“Durre”) is a resident of the State of California, residing in the County
   3   of Orange, California. From December 5, 2016 through September 1, 2020, Durre
   4   was employed by Karma. Durre was employed by Karma as Director, Infotainment
   5   Systems at Karma’s headquarters at 9950 Jeronimo, Irvine, California 92618.
   6           19.     Plaintiff is informed and believes and, on that basis, alleges that Hong
   7   Xin “George” Huan (“Huan”) is a resident of the State of North Carolina. From
   8   June 26, 2017 through August 28, 2020, Huan was employed by Karma. Huan was
   9   employed by Karma as Software System Architect at Karma’s headquarters at 9950
  10   Jeronimo, Irvine, California 92618.
  11                              III. JURISDICTION & VENUE
  12           20.     The Court has subject matter jurisdiction over this civil action
  13   pursuant to 28 U.S.C. §1331 because this action involves claims asserted pursuant
  14   to 18 U.S.C. § 1030, et seq. and 18 U.S.C. § 1836, et seq.
  15           21.     The supplemental jurisdiction of the Court is invoked pursuant to 28
  16   U.S.C. § 1367 to consider Karma’s claims under California common law and the
  17   California Uniform Trade Secret Act, as well as Karma’s claim under Ohio law
  18   against LMC for breach of contract.
  19           22.     Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(a)
  20   because a substantial part of the events or omissions giving rise to the claims
  21   occurred in this judicial district.
  22                              IV. FACTUAL ALLEGATIONS
  23                                   Karma’s Trade Secrets
  24           23.     Over the course of at least six years and through substantial efforts
  25   and financial investment, Karma has developed, compiled and maintained a wealth
  26   of trade secret information (hereinafter referred to as Karma’s “Trade Secrets”) that
  27   it uses in serving the needs of its clients, which has enabled it to achieve and secure
  28   a competitive edge over other manufacturers of automobiles, automotive hardware,
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   1   and automotive software, and in particular over other electric vehicle systems
   2   manufacturers. Karma’s Trade Secrets include, but are not limited to:
   3               a. Karma’s source code, engineering plans, and cost structure for
   4                   Karma’s cloud-based system to send new software and software
   5                   updates to the consumer over the air;
   6               b. Karma’s source code, engineering plans, and cost structure for
   7                   Karma’s system to deliver messages communicating vehicle event
   8                   actions automatically to drivers;
   9               c. Karma’s project planning documents, including internal estimates and
  10                   figures to develop the projects, including a breakdown of discrete tasks
  11                   and projects to complete and the amount of expected labor time and
  12                   costs to complete them;
  13               d. Karma’s internal processes for developing a vehicle – from building
  14                   a factory, to how to synchronize suppliers, to Karma’s guidelines for
  15                   quality assurance;
  16               e. Karma’s files and records regarding customers, prospective customers,
  17                   independent contractors, subcontractors, vendors, and suppliers and
  18                   their profiles, preferences, specifications, account history, and habits;
  19               f. information and documents pertaining to Karma’s analyses and
  20                   forecasts of production capacity and readiness to meet client and
  21                   partner needs;
  22               g. the documents, methods and systems used by the Company in
  23                   soliciting, marketing, selling and providing its products and services
  24                   to its customers, including, but not limited to, comparison pricing
  25                   analyses, presentation formats and contents, and strategic plans;
  26               h. financial and accounting information, such as budgets, cost, pricing
  27                   and billing information and revenues and profit margins; and
  28   ///
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   1                 i. other non-public information of Karma that would be valuable for a
   2                    competitor or other person or entity to have.
   3           24.      Karma’s Trade Secrets, all of which were compiled and developed by
   4   Karma over many years through substantial efforts and expense, are not known to
   5   the public. Karma’s Trade Secrets are not readily ascertainable in Karma’s industry
   6   or in any type of trade or public directory or any other source. Additionally, this
   7   information was obtained with considerable time, effort and expense to Karma, and
   8   is not readily ascertainable by others who find this information to be valuable. For
   9   example, Karma’s Trade Secrets related to its research and development in
  10   infotainment systems, including designs, software source code, component
  11   specifications, sourcing and supply chain coordination, and cost information, are
  12   valuable precisely because they give Karma a competitive advantage of being the
  13   first to market with its technology. This information in the hands of a competitor
  14   would enable the competitor to bypass months and even years of research and
  15   development the competitor would have had to do on its own.
  16           25.      Karma’s Trade Secrets are valuable to Karma and their value lies
  17   primarily in being kept secret and not generally known. For that reason, Karma’s
  18   Trade Secrets are valuable to Karma, and their value lies primarily in being kept
  19   secret and not generally known. For that reason, Karma has taken steps reasonable
  20   under the circumstances to maintain the secrecy of its Trade Secrets, such as: (a)
  21   emphasizing to employees and contractors Karma’s need to keep this information
  22   a secret; (b) requiring, as a condition of employment or contractual engagement,
  23   that all employees and contractors promise not to use or disclose this information,
  24   except in the performance of their duties for Karma; (c) having employees and
  25   contractors execute confidentiality and non-disclosure agreements, which instruct
  26   Karma’s employees and contractors not to disclose, reproduce or use this
  27   information without Karma’s consent; (d) limiting access and/or restricting access
  28   to this information by employees and contractors on a need-to-know basis; (e)
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    1   requiring unique usernames and passwords to access source code and related data
    2   on Karma’s computer systems and databases; and (f) implementing a number of
    3   physical and electronic security measures, including restricting access to databases
    4   and network space, assigning passwords and user-level permissions to access
    5   information on Karma’s computer system, servers, and networks, requiring that
    6   Trade Secrets be kept in secure locations when not in use, and requiring dual-factor
    7   authentication for remote access and VPN access to Karma’s systems.
    8           26.     Additionally, Karma entered into confidentiality and non-disclosure
    9   agreements with employees, contractors, vendors, suppliers, and business partners,
   10   including LMC, which prohibited all employees, contractors, vendors, suppliers,
   11   and business partners from disclosing, reproducing or using this information
   12   without Karma’s consent.
   13           27.     Karma has also implemented a policy of disabling all USB ports on
   14   all Karma computers to prevent anyone from plugging in any flash drives or
   15   external drives or devices through any USB port. Certain employees were granted
   16   a special exception to enable them to use the USB ports on their Karma computers.
   17   This exception was limited to employees who required frequent USB access on
   18   their Karma computers for purposes of an ongoing and frequent job task. Requests
   19   for an exception were evaluated on an individual case-by-case basis and required
   20   approval from a Karma executive level officer responsible for the employee’s
   21   department. A request for an exception would be approved if (a) the job task cannot
   22   be completed by any other approved means, and (b) the job task was frequent
   23   enough that it required ongoing access. The request for an exception would be
   24   denied if data exchange or transfer could happen by a different approved venue like
   25   a network drive, OneDrive, or SharePoint. It would also be denied if the need was
   26   temporary.
   27   ///
   28   ///
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    1           28.     The Employee Defendants were both granted an exception to the USB
    2   access policy described above because their particular engineering jobs involved
    3   frequent and ongoing need to transfer data via the USB port
    4           29.     In the course and scope of their duties as senior engineering
    5   employees, managers or contractors of Karma, the Employee Defendants had
    6   access to, regularly used, and were responsible for maintaining and safeguarding
    7   Karma’s Trade Secrets for the purpose of performing their job duties for Karma.
    8           30.     In the course and scope of LMC’s MNDA with Karma, LMC and the
    9   LMC Individual Defendants had access to, regularly used, and were responsible for
   10   maintaining and safeguarding Karma’s Trade Secrets from use and disclosure for
   11   a competitive purpose.
   12                             Karma’s Confidential Information
   13           31.     In addition to Trade Secrets (as defined above), Karma maintains
   14   other information as confidential that has value for Karma in being kept
   15   confidential, or that Karma has legal or contractual obligations to maintain as
   16   confidential but does not qualify as a trade secret under applicable state or federal
   17   law (such information is referred to herein as “Confidential Information”).
   18           32.     Karma’s Confidential Information encompasses all information
   19   belonging to Karma other than Trade Secrets (as defined above) that is proprietary
   20   and confidential in nature, whether the information is reduced to writing or in a
   21   form from which such information can be obtained, translated or derived into
   22   reasonably usable form, and whether the information is simply in an employee’s
   23   head, that: (a) has been provided to the employee during his/her employment with
   24   Karma; (b) the employee has gained access to while employed by Karma; and/or
   25   (c) was developed by the employee in the course of his/her employment with
   26   Karma.
   27           33.     Karma’s    Confidential   Information   includes   all   information,
   28   correspondence, documents, and other property (whether tangible or intangible)
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    1   that Karma owns pursuant to California Labor Code section 2860 that do not
    2   qualify as a trade secret under applicable state or federal law. California Labor
    3   Code section 2860 states: “Everything which an employee acquires by virtue of his
    4   employment, except the compensation which is due to him from his employer,
    5   belongs to the employer, whether acquired lawfully or unlawfully, or during or
    6   after the expiration of the term of his employment.”
    7           34.      Examples of Karma’s Confidential Information include, but are not
    8   limited to:
    9                 a. information believed by Karma to be a Trade Secret (as defined above)
   10                    that ultimately does not qualify as a trade secret under applicable state
   11                    or federal law but nonetheless was maintained by Karma as
   12                    confidential;
   13                 b. the non-trade secret but still proprietary or confidential methodologies,
   14                    strategies, programs, and systems used by Karma in managing assets,
   15                    liabilities, and risk and/or in soliciting, marketing, selling and
   16                    providing services to its customers;
   17                 c. private and confidential communications with Karma’s vendors,
   18                    suppliers, and consultants;
   19                 d. non-trade secret but still confidential or private information of third
   20                    parties that Karma has contractual and/or legal obligations to maintain
   21                    as confidential, including all customer information that Karma and its
   22                    employees are restricted from disclosing by federal, state or local
   23                    statutes or regulations;
   24                 e. non-trade secret but still proprietary or confidential financial and
   25                    accounting information of Karma (such as cost, pricing information,
   26                    price lists, financial policies and procedures, revenues, and profit
   27                    margins, targets, and forecasts);
   28   ///

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    1                 f. non-trade secret but still proprietary or confidential information
    2                    concerning Karma’s current and prospective customers and vendors
    3                    (including, but not limited to, customer and vendor lists and similar
    4                    compilations, and information that customers and vendors expect
    5                    Karma to keep as confidential);
    6                 g. non-trade secret but still proprietary or confidential information
    7                    concerning Karma’s consultants, independent contractors, and vendors
    8                    (including lists of all the foregoing); and
    9                 h. personnel files and employment-related records of Karma’s current
   10                    and former employees (including, but not limited to, information
   11                    related to the hiring, recruitment, retention, and termination of its
   12                    current and former employees, as well as information related to their
   13                    job duties, assignments, skills, training, performance, discipline,
   14                    promotions, compensation, benefits, leaves of absence, and medical
   15                    files).
   16           35.      Information received from a third party under contractual
   17   confidentiality obligations is valuable to Karma for a number of reasons regardless
   18   of its trade secret status, including that disclosure or use of this information in
   19   violation of the contract with the third party may subject Karma to legal liabilities,
   20   destroy the relationship with that third party, and deprive Karma of all the benefits
   21   of its investment in that relationship. This information would also be valuable to a
   22   competitor if it is obtained or acquired by the competitor without any contractual
   23   obligation associated with the information as it would be tantamount to free
   24   discovery of information.
   25           36.      Information about Karma’s infotainment engineering employees is
   26   valuable to Karma because it has invested substantial resources over the years in
   27   recruiting, training, and providing opportunities to these employees to hone their
   28   skills and participate in developing Karma’s cutting-edge technology. This
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    1   information is valuable to a competitor or a company like LMC looking to develop
    2   its own infotainment system by enabling the competitor to bypass all the time and
    3   resources otherwise needed to recruit top talent. With access to Karma’s team as a
    4   cohesive group, not just to one-off information about individual employees, a
    5   competitor would be able to target their recruiting efforts and know exactly who to
    6   recruit especially if that employee has been working on the same exact technology
    7   the competitor is planning to develop. Rather than hiring recruiters, posting job ads
    8   on public websites, making cold calls, and asking for referrals to potential
    9   candidates, among other recruiting activities, the competitor would know these are
   10   the particular employees it needs to recruit as they are already a cohesive team.
   11           37.     As with Trade Secrets, Karma’s Confidential Information is valuable
   12   to Karma, and its value lies primarily in being kept secret and not generally known.
   13   For that reason, Karma has taken steps reasonable under the circumstances to
   14   maintain the secrecy of its Confidential Information, such as: (a) emphasizing to
   15   employees and contractors Karma’s need to keep this information a secret; (b)
   16   requiring, as a condition of employment or contractual engagement, that all
   17   employees and contractors promise not to use or disclose this information, except
   18   in the performance of their duties for Karma; (c) having employees and contractors
   19   execute confidentiality and non-disclosure agreements, which instruct Karma’s
   20   employees and contractors not to disclose, reproduce or use this information
   21   without Karma’s consent; (d) limiting access and/or restricting access to this
   22   information by employees and contractors on a need-to-know basis; (e) requiring
   23   unique usernames and passwords to access this information on Karma’s computer
   24   systems; and (f) implementing a number of physical and electronic security
   25   measures, including restricting access to databases and network space, assigning
   26   passwords and user-level permissions to access information on Karma’s computer
   27   system, servers, and networks, requiring that Confidential Information be kept in
   28   secure locations when not in use, and requiring dual-factor authentication for
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    1   remote access and VPN access to Karma’s systems.
    2           38.     Karma has also implemented a policy of disabling all USB ports on
    3   all Karma computers to prevent anyone from plugging in any flash drives or
    4   external drives or devices through any USB port. Certain employees were granted
    5   a special exception to enable them to use the USB ports on their Karma computers.
    6   This exception was limited to employees who required frequent USB access on
    7   their Karma computers for purposes of an ongoing and frequent job task. Requests
    8   for an exception were evaluated on an individual case-by-case basis and required
    9   approval from a Karma executive level officer responsible for the employee’s
   10   department. A request for an exception would be approved if (a) the job task cannot
   11   be completed by any other approved means, and (b) the job task was frequent
   12   enough that it required ongoing access. The request for an exception would be
   13   denied if data exchange or transfer could happen by a different approved venue like
   14   a network drive, OneDrive, or SharePoint. It would also be denied if the need was
   15   temporary.
   16           39.     The Employee Defendants were both granted an exception to the USB
   17   access policy described above because their particular engineering jobs involved
   18   frequent and ongoing need to transfer data via the USB port.
   19           40.     In the course and scope of their duties as senior engineering
   20   employees, managers or contractors of Karma, the Employee Defendants had
   21   access to, regularly used, and were responsible for maintaining and safeguarding
   22   Karma’s Confidential Information for the purpose of performing their job duties
   23   for Karma.
   24           41.     In the course and scope of LMC’s MNDA with Karma, LMC and the
   25   LMC Individual Defendants had access to, regularly used, and were responsible for
   26   maintaining and safeguarding Karma’s Confidential Information from use and
   27   disclosure for a competitive purpose.
   28   ///
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    1                   Employee Defendants’ Contractual Obligations to Karma
    2           42.       As a condition of Employee Defendants’ assignment and placement
    3   at Karma, Employee Defendants were given access to Karma’s Trade Secrets and
    4   Confidential Information (as defined above) in order to perform their contractual
    5   duties for Karma. Employee Defendants knew or should have known of the
    6   confidential nature of this information and the fact that this information was the
    7   property of Karma and was not to be used or disclosed without Karma’s express
    8   consent.
    9           43.       Specifically, Employee Defendants each executed a Confidentiality
   10   Agreement with Karma that prohibits the unauthorized disclosure and use of
   11   Karma’s proprietary and trade secret information including, but not limited to,
   12   Karma’s source code, including source code written or developed by Employee
   13   Defendants in the course of performing services for Karma. True and correct copies
   14   of the Confidentiality Agreements signed by Durre and Huan are attached hereto
   15   as Exhibits 1 and 2, respectively, and are incorporated herein by reference.
   16           44.       The Confidentiality Agreement requires that Employee Defendants:
   17   (1) hold Karma’s Trade Secrets and Confidential Information in the strictest
   18   confidence; (2) use Karma’s Trade Secrets and Confidential Information only
   19   while working at Karma in furtherance of performing services for Karma; (3) not
   20   use Karma’s Trade Secrets and Confidential Information for Employee
   21   Defendants’ own benefit or the benefit of any other party (including a competitor
   22   of Karma); (4) not copy Karma’s Trade Secrets and Confidential Information; (5)
   23   not transmit or share Karma’s Trade Secrets and Confidential Information in any
   24   manner to anyone; and (6) return all Karma’s Trade Secrets and Confidential
   25   Information and property at the conclusion of their assignment at Karma.
   26   ///
   27   ///
   28   ///
                                                   16
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    1           45.     Specifically, Section 5 of the Confidentiality Agreement requires
    2   Employee Defendants to return all company property upon the termination of
    3   Employee Defendants’ employment or independent contractor relationship with
    4   Karma.
    5        LMC’s Contractual Obligations to Karma and the Endurance Project
    6           46.     In or around February 2020, LMC’s Chief Technology Officer and
    7   named defendant Darren Post contacted Defendant Durre at Karma to discuss
    8   developing the infotainment system for LMC’s new fleet of electric pick-up trucks,
    9   referred to as “Endurance”. Infotainment refers to the in-vehicle entertainment
   10   systems, as well as the connectivity equipment and systems of the entertainment,
   11   which includes the hardware, software, and cloud-based systems and services.
   12   Among some of the cutting-edge and unique features Karma has developed is a
   13   sophisticated cloud system to send new software and software updates to the
   14   consumer over the air, as well as a system to deliver messages communicating
   15   vehicle event actions automatically to drivers.
   16           47.     Thereafter, on February 7, 2020, Karma entered into a Mutual Non-
   17   Disclosure Agreement (“MNDA”) with LMC to permit the parties to exchange
   18   confidential and trade secret information as part of due diligence and exploring
   19   having Karma develop the infotainment system for LMC’s new fleet of electric
   20   vehicles. Among other things, the MNDA specifically prohibited the use or
   21   disclosure of confidential or trade secret information of the parties. A true and
   22   correct copy of the MNDA is attached hereto as Exhibit 3.
   23           48.     For several months, Karma’s infotainment development team worked
   24   with LMC employees Darren Post (Chief Technology Officer), Zak Stelmaszek
   25   (Director of Electrical Engineering), Jonathan Wood (Purchasing Manager),
   26   among others from LMC, to hammer out the deal. This involved providing LMC
   27   access to Karma’s trade secrets and a peek at Karma’s computer source code,
   28   designs, cost and pricing information, vendor and supplier relationships, human
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    1   capital and skills capabilities of Karma’s software engineers, and other sensitive
    2   and proprietary information. All of this access that LMC was afforded was subject
    3   to the MNDA.
    4           49.     After some months of discussions around the potential parameters of
    5   the project, in April 2020, Karma submitted a Statement of Work for the project,
    6   which included a rough quote. Defendant Durre was appointed to lead the project
    7   for Karma. Little did Karma know that it was around this time that Defendant Post
    8   of LMC started to scheme with Defendant Durre to potentially cut out Karma, as
    9   more fully described below.
   10           50.     In June 2020, LMC informed Karma that it selected Karma for the
   11   Endurance project, and on June 11, 2020, Karma and LMC entered into a Letter of
   12   Intent that detailed the infotainment services Karma would provide for the
   13   Endurance project. The Letter of Intent represented the parties’ intent to work
   14   together in good faith to negotiate, prepare, execute, and deliver definitive
   15   agreements governing the scope of the Endurance project. The Letter of Intent
   16   specifically emphasized that the MNDA remained in full force and effect.
   17           51.     On or about June 24, 2020, Defendant Durre (as Karma’s project lead)
   18   submitted an updated quote for Karma’s services to LMC.
   19           52.     On July 9, 2020, LMC informed Karma that they would be moving
   20   forward with the project and would issue its initial payment “shortly.”
   21           53.     Throughout the months of June and July 2020, after having been in
   22   talks over this deal since February 2020, LMC gave every indication to Karma that
   23   it intended to move forward with utilizing Karma’s services
   24    The Scheme to Steal Karma’s Trade Secrets and Confidential Information
   25                               and Raid Karma’s Employees
   26           54.     Contrary to its representations to date, suddenly and without warning,
   27   on August 6, 2020, LMC terminated the Letter of Intent, without prior notice,
   28   informing Karma that LMC had “decided to move in a different direction with
                                                   18
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    1   respect to [Karma’s] current offering.” In its letter terminating the Letter of Intent,
    2   LMC stated it would “return, destroy, and/or erase and confidential information
    3   received from Karma.” A true and correct copy of the email and letter that LMC
    4   sent to Karma on August 6, 2020 terminating the Letter of Intent is attached hereto
    5   as Exhibit 4.
    6           55.     Karma is informed and believes, and on that basis alleges, that what
    7   LMC meant by “different direction”, which Karma did not discover until very
    8   recently, was the fruition of LMC’s plan to steal and misappropriate Karma’s Trade
    9   Secrets and Confidential Information and key employees to enable LMC to develop
   10   the infotainment for the Endurance project in-house and to start its own “LMC
   11   Infotainment Group” in California, where it had absolutely zero presence prior to
   12   initiating talks with Karma in February.
   13           56.     Given LMC’s plan to misappropriate and steal Karma’s Trade Secrets
   14   and Confidential Information, LMC also never fulfilled its obligation to return,
   15   destroy, or erase Karma’s Trade Secrets and Confidential Information which it had
   16   received under the parties’ MNDA.
   17           57.     Karma’s investigation to date – which is ongoing and has not been
   18   completed – has revealed that LMC began coordinating with Durre as early as
   19   April 2020 to plan the transition of Defendant Durre’s team over to LMC along
   20   with all their know-how and Karma’s confidential and trade secret information.
   21           58.     The forensic evidence recovered from Durre’s work computer reveals
   22   the following timeline regarding LMC’s scheme, specifically LMC Individual
   23   Defendants Post and LeFleur in collaboration with Defendant Durre, to
   24   misappropriate Karma’s Trade Secret and Confidential Information:
   25           59.     On March 30, 2020, less than two months after LMC and Karma
   26   entered into the MNDA (February 7, 2020), Defendant Durre began to
   27   communicate with a commercial real estate agent using a personal email account
   28   accessed on a web browser on his Karma-owned computer about looking for
                                                   19
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    1   commercial office space. Durre continued this email conversation on and off for
    2   several months until he connected this real estate agent with LMC’s Chief
    3   Operating Officer LeFleur on August 5, 2020 to help LMC look for commercial
    4   real estate in Orange County, California, where Durre’s new LMC infotainment
    5   team would be located. Durre had no legitimate business purpose for engaging in
    6   this correspondence or looking for commercial office space in connection with his
    7   job at Karma or with the LMC-Karma Endurance deal. True and correct copies of
    8   these email exchanges, which were recovered from Durre’s Karma computer, are
    9   collectively attached hereto as Exhibit 5.
   10           60.     On April 2, 2020, Defendant Durre was communicating with
   11   Defendant Post of LMC to discuss an internal LMC organization chart and advise
   12   LMC on how the structure would “sell with investors.” This email exchange was
   13   on Defendant Durre’s personal Gmail account instead of his Karma email account
   14   and had no legitimate purpose in connection with the LMC-Karma Endurance deal.
   15   A true and correct copy of this email exchange, also recovered from Durre’s Karma
   16   computer, is attached hereto as Exhibit 6.
   17           61.     On July 30, 2020, seven (7) days before LMC cancelled the deal with
   18   Karma, Post sent an email to Durre with the subject “Endurance Infotainment
   19   Systems Cost Savings Estimate: justify LMC Infotainment - West.” At the time of
   20   this email, LMC did not have any infotainment development operations or
   21   employees on the west coast of the US. In this email, Post seeks help from Durre
   22   to quantify the savings that LMC would realize by hiring Durre and his team and
   23   proceeding with project Endurance in-house without Karma. By Post’s own
   24   estimate, LMC would save $4.6 million by hiring Durre and his Karma team and
   25   taking advantage of all their work product and Karma’s trade secrets and
   26   confidential information. This email reflects clear evidence of the intent to sabotage
   27   the deal with Karma, raid its workforce, and misappropriate Karma’s trade secrets.
   28   A true and correct copy of the July 30, 2020 email is attached hereto as Exhibit 7.
                                                 20
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    1           62.     On August 1, 2020, Defendant Durre received an offer letter from
    2   LMC to become LMC’s Director of Software, and the emails he received from
    3   LMC around this time that Karma recovered from his Karma computer show that
    4   he was enrolled as an employee in LMC’s Paylocity system by August 3, 2020.
    5   True and correct copies of this offer letter and subsequent emails showing Durre’s
    6   enrollment with LMC, which were found on Durre’s Karma computer, are attached
    7   collectively hereto as Exhibit 8.
    8           63.     LMC’s scheme involved senior executives at LMC all the way up to
    9   its CEO Steve Burns. On August 4, 2020, two days before LMC canceled the deal
   10   with Karma, Burns and several other LMC executives (including Schmidt and Post)
   11   exchanged emails regarding the hiring of Defendant Durre and growing his new
   12   team quickly, as well as looking for commercial real estate space in Orange County.
   13   A true and correct copy of this email is attached hereto as Exhibit 9. Defendant
   14   Post accidentally forwarded this email exchange to Defendant Durre’s Karma
   15   email account instead of Durre’s personal account, as Defendant Post immediately
   16   tried to “recall” the message unsuccessfully. A true and correct copy of the recall
   17   message is attached hereto as Exhibit 10.
   18           64.     Notwithstanding, Defendant Durre did not resign from Karma until
   19   September 1, 2020 and did not inform Karma of his intent to leave until August 27,
   20   2020 – meaning he had access to Karma’s Trade Secrets and Confidential
   21   Information for a full month while he was working for and on behalf of LMC. A
   22   true and correct copy of Durre’s resignation letter is attached hereto as Exhibit 11.
   23   Significantly, LMC did not terminate the Letter of Intent with Karma until August
   24   6, 2020 – when LMC was assured that its scheme of poaching Karma’s
   25   infotainment development team was in action by having Defendant Durre work as
   26   a double agent. Indeed, Durre began using and accessing an LMC email account
   27   on his Karma laptop on August 5, 2020, and created bookmarks to at least two
   28   LMC SharePoint folders that same day:
                                                 21
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    1                 a. https://lordstownmotors.sharepoint.com/teams/InfotainmentandConn
    2                   ectedVehicle-Management
    3                 b. https://lordstownmotors.sharepoint.com/teams/InfotainmentandConn
    4                   ectedVehicle.
    5           65.     Between July 28, 2020, just a few days before he received his offer
    6   letter from LMC and became employed by LMC on August 3, 2020, and September
    7   1, 2020, Defendant Durre utilized removable storage devices and cloud services to
    8   copy and download to these external locations at least seven of Karma’s files or
    9   folders containing Trade Secrets and Confidential Information, including but not
   10   limited to highly confidential and valuable software information.
   11           66.     Specific examples of confidential and trade secret information Durre
   12   stole from Karma include:
   13                 a. July 28, 2020: H3 Karma eBOM _2018_07_024
   14                       i. This document is on a removable drive that was connected to
   15                         Durre’s computer via USB.
   16                      ii. This document contains all of the cost structures of different
   17                         components of a brand-new electric SUV. This is unrelated to
   18                         any work on the LMC project.
   19                     iii. Karma spent approximately $32.3 million developing this
   20                         project in collaboration with a global auto manufacturer with
   21                         which Karma had entered into a mutual non-disclosure
   22                         agreement to protect this information.
   23                      iv. This document is extremely valuable to Karma and to
   24                         competitors because it provides a roadmap to Karma’s process
   25                         for building SUV components, as well as the cost of each
   26                         component. A competitor could utilize this document to bypass
   27                         18 months of time it would otherwise take them to develop,
   28                         build, and price an electric SUV.
                                                   22
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    1               b. August 5, 2020: Quote 7 BOM Breakdown
    2                    i. This document is on a Western Digital Book removeable
    3                       storage device, Serial No. D6F8ED2D.
    4                    ii. This document contains the cost breakdown of the infotainment
    5                       system Karma was developing for LMC’s Endurance deal.
    6                   iii. Karma spent months developing the specifications and costs for
    7                       the various components for the Endurance deal.
    8                   iv. This document is valuable to Karma because it represents
    9                       months of work for development of an infotainment service for
   10                       an electric SUV. This document would be used as a baseline for
   11                       potential future opportunities. This document is also
   12                       particularly valuable to LMC because it was internal to Karma
   13                       and was never supposed to be shared with LMC. This document
   14                       will allow LMC to replicate the exact cost structure of the
   15                       infotainment system Karma was to develop for LMC. This
   16                       helps advance LMC’s scheme of stealing Karma’s trade secrets
   17                       in order to build its own infotainment system in-house, without
   18                       Karma.
   19                    v. Access to this file was limited to only those Karma employees
   20                       who were involved in pricing quotes for the Endurance deal
   21                       with LMC (several of whom have left employment with Karma
   22                       to join LMC).
   23               c. August 14, 2020: HC Planning Document for Engineering Team
   24                    i. This document is on a Western Digital Book removeable
   25                       storage device, Serial No. D6F8ED2D.
   26                    ii. This document contains Karma’s engineering team’s internal
   27                       estimates and figures to develop the HC project, including a
   28                       breakdown of discrete tasks and projects to complete and the
                                                23
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    1                       amount of expected labor time and costs to complete them.
    2                   iii. Karma spent several months developing this document.
    3                   iv. This document is extremely valuable to Karma and to
    4                       competitors because it provides a precise breakdown of the
    5                       discrete tasks, needs, and human capital to move forward on the
    6                       project. This would provide a competitor a months’ long head
    7                       start on its development and planning stages.
    8               d. August 14, 2020: Specifications and Process Documents for KPDS
    9                     i. This document is on a Western Digital Book removeable
   10                       storage device, Serial No. D6F8ED2D.
   11                    ii. This document contains a roadmap for Karma’s internal
   12                       processes for developing a vehicle – from building a factory, to
   13                       how to synchronize suppliers, to Karma’s guidelines for quality
   14                       assurance.
   15                   iii. This document is extremely valuable to Karma and to
   16                       competitors because it essentially constitutes Karma’s internal
   17                       model for building a vehicle from the ground floor to a finished
   18                       product. In the hands of a competitor, it would allow the
   19                       competitor to replicate Karma’s processes for building a vehicle
   20                       and quality assurance processes.
   21               e. August 19, 2020: Roadmaps Project Document
   22                     i. This document is on a Western Digital Book removeable
   23                       storage device, Serial No. D6F8ED2D.
   24                    ii. This document contains internal development information
   25                       regarding Karma’s future designs for infotainment technology
   26                       developments and other future vehicle developments.
   27                   iii. This document is extremely valuable to Karma and to
   28                       competitors because it provides direct insight into Karma’s
                                                 24
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    1                       research and development for the core of its business – vehicle
    2                       development and vehicle technology development. This would
    3                       allow a competitor to learn the progress Karma has made
    4                       internally on new vehicle and technology innovations and copy
    5                       that work product.
    6               f. August 31, 2020: Licenses and Contracts with Vendor
    7                    i. These documents are on a Western Digital My Book removable
    8                       storage device, Serial No. D6F8ED2D.
    9                    ii. These documents contain information on costs and volumes of
   10                       potential projects being collaborated on with a vendor. These
   11                       relate to future infotainment systems that vendor and Karma are
   12                       developing together.
   13                   iii. Both Karma and vendor have entered into non-disclosure
   14                       agreements to protect this information.
   15                   iv. These documents are extremely valuable to Karma and to
   16                       competitors because they evidence collaboration plans for
   17                       development of future infotainment technology. They contain
   18                       not only Karma’s internal development, but vendor’s as well.
   19               g. September 1, 2020: CGW Internal Projects
   20                    i. This document is on a Western Digital My Book removable
   21                       storage device, Serial No. 574341563541363732383336.
   22                    ii. This document contains internal project information to develop
   23                       hardware and software for an internal gateway, which includes
   24                       information on planning for the next generation of vehicle
   25                       infotainment systems.
   26                   iii. This document is extremely valuable to Karma and to
   27                       competitors because it provides internal strategic planning for
   28                       future projects that are not even yet at market.
                                                   25
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    1                 h. September 1, 2020: Project Documents for the K1_2 Project
    2                       i. This document is on a Western Digital Book removeable
    3                         storage device, Serial No. D6F8ED2D.
    4                      ii. This document contains internal projects specifications for
    5                         Karma’s Revero GT vehicle, and development plans for future
    6                         models.
    7                     iii. Karma has spent years developing this vehicle and continues to
    8                         spend     significant    labor    hours   in   developing   future
    9                         specifications for the vehicle.
   10                     iv. These documents are extremely valuable to Karma because
   11                         they represent internal project documents for one of Karma’s
   12                         top-flight vehicles in the market. A competitor could utilize
   13                         these documents to duplicate the specifications for the Revero
   14                         GT vehicle and build their own competing vehicle.
   15           67.     Durre’s last day of employment with Karma was September 1, 2020,
   16   and on this day his access to Karma’s systems and email was deactivated.
   17           68.     When Defendant Durre became employed by LMC on August 3,
   18   2020, and especially because he was hired by LMC into a managerial position,
   19   Durre no longer had proper authorization from Karma to access Karma’s computer
   20   systems. Karma never consented to or authorized any LMC employee or manager
   21   to access its computer systems. To the extent Durre continued to access Karma’s
   22   system after he became employed by LMC, such access was in his capacity as an
   23   LMC employee and for the benefit of LMC, and therefore his access was
   24   unauthorized, or he obtained authorization under false pretenses. Defendant
   25   Durre’s prior authorization to access Karma’s systems became null and void on
   26   August 3, 2020. Thereafter, Durre lied to Karma and concealed material
   27   information from Karma to enable himself to continue to gain access to Karma’s
   28   systems and steal its trade secrets. Karma would not have allowed Defendant Durre
                                                      26
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    1   to maintain access to its computer systems if it knew that he started employment
    2   with LMC on August 3, 2020 in a managerial position.
    3           69.     LMC’s scheme to hire Karma employees while they continued to
    4   work for Karma did not end with Defendant Durre. On September 21, 2020,
    5   Defendant Durre used his LMC email account to send an email to the Karma email
    6   address of a former Karma employee, and then-current LMC employee, Brian
    7   Green (who had resigned from Karma to join LMC on August 21, 2020 and prior
    8   to that was part of Karma’s infotainment team that was working on the Karma-
    9   LMC Endurance project). A true and correct copy of this email is attached hereto
   10   as Exhibit 12. This September 21 email appears to have been accidentally sent by
   11   Durre to Green’s old Karma email account as Green did not have access to that
   12   account after his employment with Karma ended on August 21, 2020. The
   13   September 21 email revealed an earlier email in the same email chain on August
   14   24, 2020 where Defendant Durre was using his LMC email account to
   15   communicate regarding LMC business with five (5) former Karma employees or
   16   contractors (Durre, Steven Punak, Brian Green, George Huan, and Bradley
   17   Westerhof). As of August 24, 2020, when this email was circulated, all five
   18   individuals had LMC email addresses and at least two of them (Durre and Huan)
   19   were still employed by Karma and had access to Karma’s systems while the rest
   20   had recently joined LMC.
   21           70.     Defendant Durre did not end at merely stealing Trade Secrets from
   22   Karma. Between 11:23 p.m. on August 31, 2020 and 4:59 p.m. on September 1,
   23   2020, his last day of employment at Karma, Defendant Durre also intentionally
   24   deleted and “double deleted” thousands of files in Karma’s OneDrive SharePoint
   25   system and hard drive so that this information could not be recovered by Karma.
   26   This intentional sabotage constitutes a criminal act and was done with the intent to
   27   cripple Karma’s ability to remain competitive in the marketplace against the new
   28   infotainment team Durre and other former Karma employees and contractors had
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    1   established at LMC. Durre was never authorized or permitted to delete any of his
    2   work product or work files from Karma’s SharePoint. He had no legitimate
    3   business reason for doing so.
    4           71.      Separate and apart from the downloading and copying of Karma’s
    5   Trade Secrets and Confidential Information described above, Karma’s
    6   investigation and review of Defendant Durre’s Karma email account shows that he
    7   forwarded from his Karma email account to his personal email account numerous
    8   emails containing vendor and pricing information, along with “Endurance” project-
    9   related information (some of which contain Trade Secrets and/or Confidential
   10   Information), beginning prior to him giving Karma his notice of resignation, but
   11   after he received his job offer from LMC. Durre had no legitimate Karma-business
   12   related purpose to send these emails to his personal email account. Specifically,
   13   Durre forwarded emails from his Karma email account to his joe.durre@gmail.com
   14   or rjdurre@aol.com accounts as follows:
   15                 a. August 3, 2020 - re ‘Document 1’ which is a list of positions that
   16                    would be part of an Infotainment Engineering Team.
   17                        This document represents a blueprint of an infotainment
   18                          development or engineering department and closely follows the
   19                          Karma organizational structure, and therefore could be used as
   20                          a roster for LMC to use to raid Karma’s employees for an in-
   21                          house infotainment department. Durre had no legitimate
   22                          business purpose for sending this information to his personal
   23                          email account on the day he became employed by LMC.
   24                 b. August 3, 2020- re IVI PoC with GmbH-from Vendor
   25                        This document contains Confidential Information regarding
   26                          audio/video distribution in vehicles and a proposed specific
   27                          proof of concept designed for Karma’s use, received from a
   28                          software vendor subject to an NDA.
                                                   28
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    1               c. August 3, 2020- re Hydra and LiDAR- from Vendor
    2                      This document contains Confidential Information regarding
    3                        Lidar Sensors received from a Lidar sensor vendor subject to an
    4                        NDA.
    5               d. August 3, 2020- re Sales Deck from Vendor
    6                      This document contains Confidential Information regarding
    7                        Connected Vehicle Services received from a Connected
    8                        Vehicle Service vendor subject to an NDA.
    9               e. August 3, 2020- re Telematic Reference from Vendor
   10                      This document contains Confidential Information on the design
   11                        of a telematics control device received from a communications
   12                        and positioning module solutions and u-blox vendor subject to
   13                        an NDA.
   14               f. August 3, 2020- re WELLS schematic from Karma internal team
   15                      This document contains non-public operational and cost
   16                        projection information for an internal Karma project. This can
   17                        be used by a competitor to duplicate Karma’s blueprints and
   18                        cost preparations for a similar project. This is the next
   19                        generation of DIS/Cluster hardware and software for Karma
   20                        vehicles and was intended to be sold to LMC under the original
   21                        Letter of Intent.
   22               g. August 4, 2020- re NDA_List with prospective vendors
   23                      This document contains Confidential Information in the form
   24                        of Karma’s prospective vendor list, which Karma does not
   25                        share outside of the company. This document has taken years
   26                        for Karma to develop through its years of working with vendors
   27                        and would allow a competitor to know exactly which vendors
   28                        Karma prefers for its projects. This is a hand-picked and vetted
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    1                        list of vendors that would take a competitor time and efforts to
    2                        vet and is the complete list of vendors that comprise the Karma
    3                        Infotainment system.
    4               h. August 5, 2020- re ACU6 Pro Auto mechanical file from Vendor
    5                      This document contains Confidential Information regarding a
    6                        new global telematics control device received from a telematics
    7                        control vendor subject to an NDA.
    8               i. August 5, 2020- re Benchmark pricing for a TCU from internal
    9                   teammate
   10                      This document contains non-public pricing information that
   11                        Karma intended to use for the Endurance project that was never
   12                        previously shared with LMC. Durre had no legitimate business
   13                        purpose to send this information to his personal email account.
   14                        This information could easily be used by LMC to skip the steps
   15                        of soliciting pricing information, and instead use Karma’s
   16                        efforts that were never shared with LMC.
   17               j. August 12, 2020- re PR SP Contract Extension 200214
   18                      This document contains the terms of a contract extension with
   19                        one of Karma’s key contracted vendors. This information
   20                        identifies one of Karma’s preferred vendors (which Karma does
   21                        not share outside of the company) along with the terms of
   22                        engagement between the two companies. This could be used by
   23                        a competitor to bid against Karma for this particular vendor’s
   24                        services, or to simply bring this vendor on board with the
   25                        LMC’s new Infotainment Team.
   26               k. August 15, 2020- re Global High-End Auto Manufacturer
   27                   Infotainment System
   28   ///
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    1                      This document contains non-public information regarding
    2                        Karma’s work for Porsche in providing an infotainment system
    3                        for one of its vehicles. It contains a high-level summary of the
    4                        construction and pricing of the infotainment system, which
    5                        would be valuable to a competitor to use either to create its own
    6                        infotainment system by copying Karma’s information, or to use
    7                        to compete with Karma to offer similar infotainment services to
    8                        Karma’s business partners.
    9               l. August 19, 2020- re SDK Evaluation- regarding Vendor
   10                      This document contains Confidential Information regarding
   11                        Automotive Artificial Intelligence received from an automotive
   12                        artificial intelligence vendor subject to an NDA.
   13               m. August 19, 2020- re ESM Charging, from Vendor
   14                      This document contains Confidential Information regarding
   15                        CAN communication protocol and design received from an
   16                        external sound module vendor subject to an NDA.              This
   17                        document pertains to a system that was to be sold to LMC under
   18                        the Letter of Intent or as a component to the marketplace.
   19               n. August 19, 2020- re Quotes needed for new audio system
   20                      This document contains Confidential Information regarding
   21                        product features and design received from an audio amplifier
   22                        and speaker vendor subject to an NDA.
   23               o. August 19, 2020- re Forms from Vendor
   24                      This document contains Confidential Information regarding
   25                        human perception artificial intelligence received from a human
   26                        perception artificial intelligence vendor subject to an NDA.
   27               p. August 19, 2020- re Vendor information
   28   ///
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    1                      This document contains Confidential Information infotainment
    2                        system design received from an infotainment system vendor
    3                        subject to an NDA.
    4               q. August 19, 2020- re NDA and W-9 from Vendor
    5                      This document contains non-public information regarding one
    6                        of Karma’s preferred vendors, which Karma does not share
    7                        outside of the company. Karma has developed its preferred
    8                        vendors through its years of working with several vendors, and
    9                        this information would allow a competitor to know exactly
   10                        which vendors Karma prefers for its projects.
   11               r. August 20, 2020- re K---- and Geo, from Vendor
   12                      This document contains Confidential Information regarding
   13                        flash memory technology received from a memory chip
   14                        electronics vendor subject to an NDA.
   15               s. August 31, 2020- internal presentation with targeted list of suppliers
   16                      This document contains the identity of several of Karma’s
   17                        preferred suppliers, which Karma does not share outside the
   18                        company. This information has taken years for Karma to
   19                        develop through its years of working with various suppliers.
   20                        This information would enable a competitor to know exactly
   21                        which suppliers Karma prefers for its projects. Combined with
   22                        the schematics for each of the proposed suppliers’ systems,
   23                        which Durre forwarded to himself or downloaded, LMC would
   24                        be able to quickly establish a relationship and continue with
   25                        Karma’s designs.
   26               t. August 31, 2020- re Solution Design, from Huan to internal team
   27                      This document contains architectural designs for an aspect of
   28                        the infotainment system Karma was developing for the
                                                   32
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    1                          Endurance deal. This document, which was never shared with
    2                          LMC, would allow a competitor to copy Karma’s designs for a
    3                          portion of the infotainment system. This is highly confidential
    4                          and Karma spent significant resources on developing it. It could
    5                          also be used to harm Karma as it can be used to hack the Karma
    6                          FOTA system.
    7                 u. September 1, 2020- re Q2/2020 Update WayRay, from internal team.
    8                        This document contains Confidential Information regarding
    9                          display technology received from an electronics vendor subject
   10                          to an NDA.
   11           72.      Karma is informed and believes that Defendant Huan participated in
   12   the scheme, based upon Karma’s forensic investigation of Defendant Huan’s
   13   Karma-owned computer. Specifically, the forensics investigation of Huan’s
   14   computer reveals the following evidence of Defendant Huan’s furtherance of
   15   LMC’s scheme to create its own “LMC Infotainment Group”:
   16                 a. On June 2, 2020, Huan utilized a removable storage device connected
   17                    to his Karma computer to copy and download to external locations at
   18                    least five (5) Karma files containing Trade Secrets and Confidential
   19                    Information, including but not limited to highly confidential and
   20                    valuable software information, component costs, supply chain
   21                    information, and documents and data containing specifications and
   22                    blueprints for speaker systems, video systems, and software code.
   23                    Huan had no legitimate business reason in connection with any work
   24                    he may have been performing for Karma at the time to be downloading
   25                    any of these files to an external location outside Karma’s control.
   26                 b. On June 2, 2020, Huan created a folder on an external storage device
   27                    called: D:\ghuan_ca\Karma\NewOrg\lmc. Included within that folder
   28                    were documents relating to the LMC Infotainment Connected System,
                                                    33
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    1                    such as Karma’s Investment Rate of Return Calculations and Feature
    2                    Content and Timing. Huan never turned over this external storage
    3                    device to Karma. Thus, unless if he destroyed it, there is no question
    4                    he is currently in possession of files containing Karma’s Trade Secrets
    5                    and Confidential Information.
    6                 c. Huan copied and downloaded an additional five (5) files to his
    7                    removable storage device from August 14 through 27, 2020, after
    8                    LMC had cancelled the project, after he had given notice of his
    9                    resignation, and after he had begun working for LMC and using an
   10                    LMC email account. These additional files included documents
   11                    relating to Karma’s Infotainment Connected System and its System
   12                    Architecture. Huan had no legitimate business reason in connection
   13                    with any work he may have been performing for Karma at the time to
   14                    be downloading these files to an external device outside Karma’s
   15                    control.
   16                 d. On August 31, 2020, three days after Huan’s employment with Karma
   17                    ended and his access to Karma systems and email was suspended, and
   18                    the day before he returned the Karma laptop to the company, Huan
   19                    attempted to delete all 57,000-plus files and folders located in his
   20                    ‘C:\ghuan_ca’ base folder. Huan had no authorization to access any
   21                    Karma computer after August 28, 2020.
   22                 e. Also, on August 31, 2020, Huan accessed several Karma-related
   23                    folders on his Karma laptop. Huan did not have authorization to access
   24                    this Karma computer after August 28, 2020.
   25           73.      Karma is informed and believes and, on that basis, alleges that LMC
   26   continues to use Karma’s stolen information to develop the infotainment system
   27   for its new fleet of electric pickup trucks, and to raid Karma’s employees to further
   28   its scheme of bringing over Karma information with new employees and to hinder
                                                    34
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    1   Karma’s ability to develop its own cutting-edge technology.
    2           74.     Because LMC continues to retain and use Karma’s Trade Secrets and
    3   Confidential Information – and continues in its scheme to raid Karma’s employees
    4   and damage Karma’s ability to compete in the marketplace – Karma’s damages are
    5   ongoing and significant. First, the loss of the Endurance deal with LMC represents
    6   an anticipated loss of over three billion dollars in anticipated future revenue for
    7   Karma through 2024.
    8           75.     LMC also currently retains significant amounts of Karma’s Trade
    9   Secrets and Confidential Information and can use that information to compete with
   10   Karma and develop the infotainment system for Endurance pickup trucks “in-
   11   house” – at a significant saving, using cutting-edge technology developed by
   12   Karma. The damages in lost business opportunities are significant.
   13           76.     In addition, some of the files taken by Durre and LMC are subject to
   14   NDA’s between Karma and third parties. The taking of these files may expose
   15   Karma to potential claims under those third-party NDA’s. Durre and the other
   16   former Karma employees did not have authorization from any of those third parties
   17   to take and retain possession of those files outside of the course of their
   18   employment with Karma, and LMC certainly had no authorization to use Durre and
   19   others to acquire possession of those files.
   20                                          COUNT I
   21   (Violation of the Computer Fraud and Abuse Act, 18 U.S.C. §§ 1030, et seq.)
   22                      Against LMC and LMC Individual Defendants
   23           77.     Plaintiff realleges and incorporates by this reference the allegations
   24   set forth in Paragraphs 1 through 76.
   25           78.     Karma’s computers used by Employee Defendants are “protected
   26   computers” within the meaning of 18 U.S.C. § 1030(e) because they are computers
   27   purchased by Karma then issued to Employee Defendants, who used the computers
   28   for the purposes of performing services for Karma. Similarly, Karma’s SharePoint
                                                   35
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    1   drive and other repositories of Karma’s data reside on protected computers under
    2   Karma’s exclusive control.
    3           79.     Karma is informed and believes, and thereon alleges, that Durre and
    4   Huan were acting as agents of LMC prior to their resignations from Karma in
    5   August 2020.
    6           80.     Therefore, Karma is informed and believes that LMC and the LMC
    7   Individual Defendants, acting through their agents, Durre and Huan, knowingly,
    8   intentionally, and with the intent to defraud Karma, accessed Karma’s computers
    9   without authorization in an effort to download and transfer files containing
   10   Karma’s confidential and proprietary files and trade secrets, as well as to delete and
   11   purge files from Karma’s computer systems. Karma never authorized any
   12   employee or agent of LMC to access LMC’s computer systems.
   13           81.     As a result, LMC and LMC Individual Defendants furthered their
   14   intended fraud upon Karma and caused Karma damages and loss to Karma’s
   15   computer systems in excess of $5,000.
   16           82.     As a consequence of the foregoing, Karma has suffered and will
   17   continue to suffer irreparable harm and loss, and has sustained damages including
   18   but not limited to loss of the stolen property, loss of the work product Durre and
   19   Huan were expected to produce for Karma, and the cost of Karma’s investigation
   20   of Employee Defendants’ retention and access of Karma’s confidential and trade
   21   secret information after they became employed by LMC, in an amount to be
   22   determined at trial, which damages are ongoing and continue unabated at the time
   23   of the filing of this Complaint.
   24           83.     Karma has no adequate remedy at law for these injuries unless and
   25   until LMC and LMC Individual Defendants are ordered to return Karma’s property,
   26   Trade Secrets, and Confidential Information and restrained from using Karma’s
   27   Trade Secrets, and Confidential Information in the future, because calculations of
   28   damages will be difficult, and Karma will be compelled to bring multiple suits to
                                                  36
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    1   protect its interest.
    2           84.     Karma, therefore, is entitled to temporary, preliminary and permanent
    3   injunctions, as prayed for herein, ordering LMC and LMC Individual Defendants
    4   to return the property and information they stole from Karma and prohibiting LMC
    5   and LMC Individual Defendants from further acts of misuse and disclosure of
    6   Karma’s Trade Secrets, and Confidential Information, as alleged herein.
    7                                         COUNT II
    8   (Violation of the Computer Fraud and Abuse Act, 18 U.S.C. §§ 1030, et seq.)
    9                               Against Employee Defendants
   10           85.     Plaintiff realleges and incorporates by this reference the allegations
   11   set forth in Paragraphs 1 through 84.
   12           86.     Karma’s computers used by Employee Defendants are “protected
   13   computers” within the meaning of 18 U.S.C. § 1030(e) because they are computers
   14   purchased by Karma, and then issued to Employee Defendants, who used the
   15   computer for the purposes of performing services for Karma.
   16           87.     Karma is informed and believes, and thereon alleges, that Employee
   17   Defendants knowingly, intentionally, and with the intent to defraud Karma
   18   accessed Karma’s computers either without authorization or with authorization
   19   they obtained under false pretenses and based on lies, misrepresentations, and
   20   failure to disclose material facts that Employee Defendants were legally and
   21   contractually obligated to disclose to Karma, in an effort to download and transfer
   22   files containing Karma’s confidential and proprietary files and trade secrets, as well
   23   as to delete and purge files from Karma’s computer systems. While Employee
   24   Defendants previously were granted access to Karma’s computers in connection
   25   with their employment with Karma, such access and authorization became null and
   26   void when the Employee Defendants became employed by LMC. Karma never
   27   authorized or consented to Employee Defendants accessing Karma’s computer
   28   systems in their capacity as agents and employees of LMC.
                                                   37
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    1           88.     As a result, Employee Defendants furthered their intended fraud upon
    2   Karma and caused Karma damages and loss to Karma’s computer systems in excess
    3   of $5,000.
    4           89.     As a consequence of the foregoing, Karma has suffered and will
    5   continue to suffer irreparable harm and loss, and has sustained damages including
    6   but not limited to loss of capital, loss of the stolen property, loss and disclosure of
    7   the work product Employee Defendants were engaged to produce for Karma, and
    8   the cost of Karma’s investigation of Employee Defendants’ retention and access of
    9   Karma’s computers after they become employed by LMC, in an amount to be
   10   determined at trial, which damages are ongoing and continue unabated at the time
   11   of the filing of this Complaint.
   12           90.     Karma has no adequate remedy at law for these injuries unless and
   13   until Employee Defendants is ordered to return Karma’s property, Trade Secrets,
   14   and Confidential Information and restrained from using Karma’s Trade Secrets and
   15   Confidential Information in the future, because calculations of damages will be
   16   difficult, and Karma will be compelled to bring multiple suits to protect its interest.
   17           91.     Karma, therefore, is entitled to temporary, preliminary and permanent
   18   injunctions, as prayed for herein, ordering Employee Defendants to return the
   19   property they stole from Karma and prohibiting Employee Defendants from further
   20   acts of misuse and disclosure of Karma’s Trade Secrets, and Confidential
   21   Information, as alleged herein.
   22                                         COUNT III
   23   (Misappropriation of Trade Secrets in Violation of the Defend Trade Secrets
   24                                   Act, 18 U.S.C. § 1836)
   25                                   Against All Defendants
   26           92.     Plaintiff re-alleges and incorporates by this reference the allegations
   27   set forth in Paragraphs 1 through 91.
   28   ///
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    1           93.     Karma’s Trade Secrets alleged above constitute trade secrets under the
    2   Defend Trade Secrets Act (18 U.S.C. § 1836).
    3           94.     Karma’s Trade Secrets are valuable because they are not generally
    4   known or readily accessible, through proper means, to others who can profit from
    5   use of the Trade Secrets.
    6           95.     Karma has taken more than adequate measures under the
    7   circumstances to maintain the secrecy of this information, including requiring
    8   unique usernames, passwords, and dual-factor authentication to access Karma’s
    9   computer systems and records, restricting access to the most sensitive trade secret
   10   information to only those with a business need to know or access the information
   11   for purposes of performing their job for Karma, and having employees, contractors
   12   and third parties sign agreements which expressly prohibit the use, removal and
   13   disclosure of such information.
   14           96.     The foregoing conduct of Defendants constitutes an actual and
   15   threatened misappropriation and misuse of Karma’s trade secret information in
   16   violation of the Defend Trade Secrets Act, 18 U.S.C. §1836.
   17           97.     Defendants’ actions with respect to Karma’s Trade Secrets, as alleged
   18   above, were a deliberate scheme and plan to deprive Karma of the benefits of
   19   Karma’s own substantial investment and efforts and steal the fruits of years of
   20   Karma’s labor.
   21           98.     As a proximate result of Defendants’ acts as alleged above, Karma to
   22   date has suffered, and will continue to suffer, actual damages, including, but not
   23   limited to, loss of capital, loss of valuable business, loss of profits and future profits,
   24   and loss of goodwill, in an amount to be proven at trial. As a further proximate
   25   result of the misappropriation, Karma is informed and believes that Defendants
   26   have been unjustly enriched as a result of the misappropriation of Karma’ Trade
   27   Secrets. The amount of this unjust enrichment cannot presently be ascertained.
   28   ///
                                                    39
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    1           99.     Karma is informed and believes that Defendants continue to possess,
    2   use, and disclose Karma’s misappropriated Trade Secrets. Defendants’ conduct
    3   therefore threatens further wrongful misappropriation, use, disclosure, and
    4   destruction of Karma’ Trade Secrets.
    5           100. As a proximate result of Defendants’ acts as alleged above, Karma
    6   will continue to suffer actual damages in an amount to be proven at trial unless
    7   Defendants are enjoined.
    8           101. Karma has no adequate remedy at law for these injuries unless and
    9   until Defendants are restrained from using Karma’ misappropriated Trade Secrets
   10   in the future and ordered to return such information and property to Karma, because
   11   calculations of damages will be difficult, and Karma will be compelled to bring
   12   multiple suits to protect its interest. Karma’ damages are not easily quantified but
   13   include, and are not limited to, its lost profits and productivity as a result of damage
   14   to its reputation, goodwill, disruption of its operations, and time and resources spent
   15   investigating Defendants’ unlawful conduct, in an amount to be proven at trial.
   16           102. Karma, therefore, is entitled to temporary, preliminary, and permanent
   17   injunctions, as prayed for herein, prohibiting Defendants from further acts of
   18   misuse and disclosure of Karma’ misappropriated Trade Secrets and ordering
   19   Defendants to return such Trade Secrets to Karma immediately.
   20           103. Karma is informed and believes that Defendants’ conduct was, and is,
   21   malicious, fraudulent, deliberate and willful, as revealed by Defendants’ conduct
   22   described above. Karma is therefore entitled to recover from Defendants exemplary
   23   damages in an amount twice the total of the damages recovered for actual loss as
   24   permitted by 18 U.S.C. § 1836(b)(3)(C).
   25           104. Karma is entitled to an award of attorneys’ fees pursuant to 18 U.S.C.
   26   §1836(b)(3)(D).
   27   ///
   28   ///
                                                  40
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    1                                        COUNT IV
    2     (Misappropriation of Trade Secrets in Violation of the California Uniform
    3                   Trade Secrets Act, Cal. Civ. Code §§ 3426.1 et seq.)
    4                                  Against All Defendants
    5            105. Plaintiff realleges and incorporates by this reference the allegations
    6   set forth in Paragraphs 1 through 104.
    7            106. Karma’s Trade Secrets alleged above constitute trade secrets under the
    8   California Uniform Trade Secrets Act (California Civil Code sections 3426 et seq.)
    9   and contain information which is not generally known to the public or to Karma’s
   10   competitors, who can obtain economic value from its disclosure and use it in their
   11   own interest since it was compiled based on Karma’s years of experience in
   12   business. This information is a valuable asset in that it provides Karma a
   13   competitive advantage over others. As set forth herein above, Karma has made
   14   reasonable efforts to keep this information secret, including having employees
   15   execute confidentiality agreements, setting forth confidentiality rules and policies,
   16   and implementing security systems on its computer system to prevent unauthorized
   17   access or disclosure.
   18            107. Defendants’ actions with respect to Karma’s Trade Secrets, as alleged
   19   above, were a deliberate scheme and plan to deprive Karma of the benefits of its
   20   own substantial investment and efforts and steal the fruits of years of Karma’s
   21   labor.
   22            108. As a proximate result of Defendants’ acts as alleged above, Karma to
   23   date has suffered, and will continue to suffer, actual damages in an amount to be
   24   proven at trial. As a further proximate result of the misappropriation, Karma is
   25   informed and believes that Defendants have been unjustly enriched as a result of
   26   the misappropriation of Karma’s Trade Secrets. The amount of this unjust
   27   enrichment cannot presently be ascertained.
   28   ///
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    1           109. Karma is informed through Defendants’ own written admissions and
    2   believes that Defendants continue to use and disclose Karma’s misappropriated
    3   Trade Secrets. Defendants’ conduct therefore threatens further wrongful
    4   misappropriation, use, and disclosure of Karma’s Trade Secrets.
    5           110. As a proximate result of Defendants’ acts as alleged above, Karma
    6   will continue to suffer actual damages in an amount to be proven at trial unless
    7   Defendants are enjoined.
    8           111. Karma has no adequate remedy at law for these injuries unless and
    9   until Defendants are restrained from using Karma’s misappropriated Trade Secrets
   10   in the future and ordered to return such information and property to Karma, because
   11   calculations of damages will be difficult, and Karma will be compelled to bring
   12   multiple suits to protect its interest. Karma’s damages are not easily quantified but
   13   include, and are not limited to, its lost profits and productivity as a result of damage
   14   to its reputation, goodwill, disruption of its operations, and time and resources spent
   15   investigating Defendants’ unlawful conduct, in an amount to be proven at trial.
   16           112. Karma, therefore, is entitled to temporary, preliminary and permanent
   17   injunctions, as prayed for herein, prohibiting Defendants from further acts of
   18   misuse and disclosure of Karma’s misappropriated Trade Secrets and ordering
   19   Defendants to return such information and property to Karma immediately.
   20           113. Karma is informed and believes that Defendants’ conduct was, and is,
   21   malicious, fraudulent, deliberate and willful, as revealed by Employee Defendants’
   22   conduct described above. Karma is therefore entitled to recover from Defendants
   23   exemplary damages in an amount twice the total of the damages recovered for
   24   actual loss as permitted by California Civil Code section 3426.3.
   25           114. Karma also is entitled to an award of attorneys’ fees pursuant to
   26   California Civil Code section 3426.4.
   27   ///
   28   ///
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    1                                        COUNT V
    2                             (Breach of Contract-Count I)
    3                             Against Employee Defendants
    4           115. Plaintiff realleges and incorporates by this reference the allegations
    5   set forth in Paragraphs 1 through 114.
    6           116. Karma and Employee Defendants are parties to the Confidentiality
    7   Agreement.
    8           117. Karma has performed all of the terms and conditions required of
    9   Karma under the Confidentiality Agreement.
   10           118. Employee Defendants’ obligations under the Confidentiality
   11   Agreement are valid, enforceable and binding on Employee Defendants.
   12   ///
   13           119. Despite    their   contractual   obligations,   Employee    Defendants
   14   materially breached the Confidentiality Agreement based on the conduct described
   15   in the preceding paragraphs by, among other things, (a) taking, disclosing,
   16   transferring, removing, misusing, and/or misappropriating Karma’s Trade Secrets
   17   and Confidential Information, (b) accepting employment with LMC, which created
   18   a conflict of interest with Karma, and (c) soliciting, recruiting or inducing Karma’s
   19   employees to leave Karma and join LMC. Karma has been damaged by Employee
   20   Defendants’ breaches of the Agreement in an amount to be proven at trial.
   21                                       COUNT VI
   22                             (Breach of Contract-Count II)
   23                                      Against LMC
   24           120. Plaintiff realleges and incorporates by this reference the allegations
   25   set forth in Paragraphs 1 through 119.
   26           121. Karma and LMC are parties to the MNDA.
   27           122. Karma has performed all of the terms and conditions required of
   28   Karma under the MNDA.
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    1           123. LMC’s obligations under the MNDA are valid, enforceable and
    2   binding on LMC.
    3           124. Despite its contractual obligations, LMC materially breached the
    4   MNDA based on the conduct described in the preceding paragraphs by, among
    5   other things, taking, disclosing, transferring, removing, misusing, and/or
    6   misappropriating Karma’s Trade Secrets and Confidential Information.
    7           125. LMC also breached the duty of good faith and fair dealing under the
    8   MNDA by engaging under false pretenses in talks with Karma for Karma to
    9   provide services to LMC only to make a side deal with Karma’s infotainment team
   10   to hire them directly for the project and cut out Karma from the deal.
   11           126. Karma has been damaged by LMC’s breaches of the MNDA in an
   12   amount to be proven at trial.
   13           127. Because LMC expressly consented to injunctive relief in Section 13
   14   of the MNDA, and because damages alone may not provide Karma with a complete
   15   or adequate remedy, Karma is also entitled to temporary, preliminary and
   16   permanent injunctive relief prohibiting LMC from directly or indirectly breaching
   17   the MNDA.
   18                                      COUNT VII
   19                         (Tortious Interference with Contract)
   20                    Against LMC and LMC Individual Defendants
   21           128. Plaintiff realleges and incorporates by this reference the allegations
   22   set forth in Paragraphs 1 through 24, 31 through 76, and 115 through 127 only.
   23           129. Karma has valid and enforceable confidentiality agreements with its
   24   employees and contractors, including, but not limited to Employee Defendants.
   25           130. LMC and LMC Individual Defendants knew or should have known of
   26   these former employees’ contracts with Karma.
   27           131. LMC and LMC Individual Defendants willfully and intentionally
   28   interfered with these agreements, without privilege to do so, by aiding, abetting,
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    1   and assisting Employee Defendants in breaching their contractual obligations to
    2   Karma, including but not limited to their obligations to immediately return all of
    3   Karma’s Confidential Information upon the end of their employment, to not use or
    4   disclose Karma’s Confidential Information for their own benefit or outside the
    5   scope of their employment with Karma, to not solicit Karma’s employees, and in
    6   Durre’s and Huan’s case, to not work for another employer in a position with
    7   similar duties to their job at Karma or that would create a conflict with their work
    8   for Karma.
    9           132. LMC’s      and   LMC    Individual   Defendants’    misconduct     was
   10   independently tortious and unlawful because it involved the conspiracy to recruit
   11   and hire Karma’s infotainment team and have them work as double agents for
   12   Karma and LMC at the same time.
   13           133. As a direct and proximate cause of LMC’s and LMC Individual
   14   Defendants’ misconduct, Karma suffered injuries, including, but not limited to
   15   actual damages, direct damages, indirect damages, incidental damages,
   16   consequential damages, special damages, lost profits, costs of mitigation, and
   17   irreparable damage to Karma’s employment relationships, vendor relationships,
   18   and supplier relationships. Because LMC’s and LMC Individual Defendants’
   19   tortious conduct was willful and malicious, Karma seeks exemplary damages.
   20                                      COUNT VIII
   21             (Tortious Interference with Prospective Economic Advantage)
   22                             Against Employee Defendants
   23           134. Plaintiff realleges and incorporates by this reference the allegations
   24   set forth in Paragraphs 1 through 24, 31 through 76, and 115 through 133 only.
   25           135. Due to the Letter of Intent and LMC’s assurances that payment was to
   26   be made “shortly,” Karma had a reasonable expectation of receiving the benefits of
   27   its relationship with LMC for the production of infotainment systems for the
   28   Endeavor project.
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    1           136. Employee Defendants knew or should have known of Karma’s
    2   relationship with LMC.
    3           137. One or more Employee Defendants willfully and intentionally
    4   interfered with the relationship, without privilege to do so, by aiding, abetting, and
    5   assisting LMC in ending its relationship obligations to Karma.
    6           138. Employee Defendants’ misconduct was independently tortious and
    7   unlawful because Employee Defendants breached their duty of loyalty by making
    8   a side deal with LMC while they were employed by Karma, which resulted in LMC
    9   ending its relationship obligations to Karma.
   10           139. Employee Defendant’ conduct was a substantial factor in causing
   11   Karma’s harm.
   12   ///
   13           140. As a direct and proximate cause of Employee Defendants’
   14   misconduct, Karma suffered injuries, including, but not limited to actual damages,
   15   direct damages, indirect damages, incidental damages, consequential damages,
   16   special damages, lost profits, costs of mitigation, and irreparable damage to
   17   Karma’s goodwill, business reputation, confidential information, trade secrets,
   18   employment relationships, vendor relationships, and customer relationships.
   19   Because Employee Defendants’ tortious conduct was willful and malicious, Karma
   20   seeks exemplary damages.
   21                                       COUNT IX
   22     (Unfair Competition in Violation of Cal. Business and Professions Code §
   23                                      17200 et seq.)
   24                                 Against All Defendants
   25           141. Plaintiff realleges and incorporates by this reference the allegations
   26   set forth in Paragraphs 1 through 24, 31 through 76, and 115 through 140 only.
   27           142. This is a claim for unfair business practices arising under California
   28   Business and Professions Code sections 17200 et seq., which prohibits unfair
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    1   competition.
    2           143. This cause of action for unfair competition is not based on the
    3   misappropriation of any Trade Secrets. Rather, Karma bases this cause of action on
    4   (a) the actions of Employee Defendants while they were still employed by Karma
    5   in breach of their duty of loyalty and/or contract with Karma including, but not
    6   limited to, being employed by and working for LMC while still employed by
    7   Karma, sabotaging and undermining the Karma-LMC deal, recruiting or supporting
    8   the recruiting of Karma employees for the benefit of LMC, and conspiring with
    9   LMC, (b) LMC’s and LMC Individual Defendants’ breach of contract, breach of
   10   the duty of good faith and fair dealing, and unlawful raiding of Karma’s workforce
   11   while at the same time promising Karma that the Endurance project deal is going
   12   through, (c) Defendants’ conversion of a separate category of information defined
   13   above as Confidential Information, which excludes by definition any trade secrets,
   14   and in which Karma has a separate, legally cognizable property interest, and (d)
   15   Defendants’ other deceptive and unfair business practices that are alleged in this
   16   Complaint.
   17           144. On information and belief and in violation of California Business and
   18   Professions Code sections 17200 et seq., Defendants improperly misappropriated,
   19   removed, retained, and/or began using Karma’s Confidential Information that
   20   Karma owns in accordance with Labor Code § 2860, as alleged above.
   21           145. Defendants’ actions are part of a deliberate scheme and plan to deprive
   22   Karma of the benefits of its own substantial investment and efforts and to steal the
   23   fruits of several years of its labor, and to give Defendants an unfair competitive
   24   advantage.
   25           146. As a proximate result of Defendants’ acts as alleged above, Karma to
   26   date has suffered, and will continue to suffer damages, unless Defendants are
   27   enjoined from using Karma’s Confidential Information that each of them has
   28   misappropriated. Thus, as a proximate result of Defendants’ wrongful acts, Karma
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    1   is entitled to restitution as provided for by California Business and Professions
    2   Code sections 17200 et seq. and a constructive trust in which Defendants as
    3   constructive trustees, hold their income, profits, commissions, fees, revenues or
    4   other funds, received as a result of their wrongful acts alleged herein above, for
    5   Karma’s benefit.
    6           147. Defendants’ wrongful conduct in using and/or disclosing and/or
    7   threatening to use or disclose Karma’s Confidential Information will continue
    8   unless and until enjoined and restrained by order of this Court. Without such
    9   involvement, Defendants’ conduct in stealing the fruits of Karma’s business
   10   investments will cause great and irreparable injury to Karma’s business in that
   11   Karma will lose and/or is at risk to lose employees by virtue of the Confidential
   12   Information that Defendants have obtained and misappropriated wrongfully.
   13           148. Karma has no adequate remedy at law for the injuries currently being
   14   suffered in that Defendants will continue to wrongfully use and/or disclose or be a
   15   threat to use or disclose Karma’s Confidential Information that was wrongfully
   16   misappropriated, including but not limited to any information concerning Karma’s
   17   employees that is not generally available to the public at large. Karma is entitled to
   18   a temporary, preliminary and permanent injunction against Defendants, as prayed
   19   herein.
   20           149. Defendants’ conduct was willful and malicious, oppressive,
   21   fraudulent, despicable and in conscious disregard of the rights of Karma, and the
   22   resulting harm to Karma. Defendants acted with the intent to cause injury and to
   23   obtain an unfair competitive advantage over Karma in the market place. Therefore,
   24   Defendants are liable for restitution and exemplary and/or punitive damages in an
   25   amount to be established according to proof at trial for unfair competition, and a
   26   permanent injunction against Defendants is warranted enjoining Defendants’ unfair
   27   competition as alleged in the prayer below.
   28   ///
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    1           150. The rights invoked herein petition for, implicate, invoke, and demand
    2   the enforcement of important rights affecting the public interest. Furthermore,
    3   because the relief sought will provide a significant benefit to the general public at
    4   large, Karma is entitled to an award of attorneys’ fees to reimburse Karma for
    5   attorneys’ fees incurred by undergoing the burden of seeking the private
    6   enforcement of statutes vindicating important public rights, including the right of
    7   the public to be free from illegal restraints of trade, unfair competition, and
    8   violations of the California Business and Professions Code.
    9                                       COUNT X
   10                               (Breach of Duty of Loyalty)
   11                             Against Employee Defendants
   12           151. Plaintiff realleges and incorporates by this reference the allegations
   13   set forth in Paragraphs 1 through 24, 31 through 76, and 128 through 150 only.
   14           152. Employee Defendants had and have a duty of loyalty to Karma by
   15   virtue of their duty to act for the benefit of Karma in matters connected with their
   16   contractual and employment relationship with Karma and by the special confidence
   17   reposed in them by Karma in connection with their exposure and access to Karma’s
   18   Confidential Information.
   19           153. This cause of action is not based on the misappropriation of any Trade
   20   Secrets. Rather, Karma bases this cause of action on (a) the actions of Employee
   21   Defendants while they were still employed by Karma in breach of their duty of
   22   loyalty and/or contract with Karma including, but not limited to, being employed
   23   by and working for LMC while still employed by Karma, sabotaging and
   24   undermining the Karma-LMC deal, recruiting or supporting the recruiting of
   25   Karma employees for the benefit of LMC, and conspiring with LMC, (b) Employee
   26   Defendants’ conversion and misappropriation of a separate category of information
   27   defined above as Confidential Information, which excludes by definition any trade
   28   secrets, and in which Karma has a separate, legally cognizable property interest,
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    1   and (c) Employee Defendants’ other breaches of their duty of loyalty that are
    2   alleged in this Complaint.
    3           154. Employee Defendants breached their duty of loyalty owed to Karma
    4   by working for LMC while still employed by Karma and by supporting LMC’s
    5   conspiracy to sabotage the LMC-Karma deal and enable LMC to recruit and hire
    6   Karma’s infotainment team in-house and proceed with the Endurance Project
    7   without Karma.
    8           155. Employee Defendants’ breaches of the duty of loyalty have directly
    9   and proximately caused Karma to suffer damages.
   10           156. The actions of Employee Defendants were and are willful and
   11   malicious and demonstrate a complete indifference to or a conscious disregard for
   12   the rights of Karma entitling Karma to an award of punitive damages.
   13           157. But for an exercise of the equitable powers of this Court, Karma will
   14   be irreparably injured and harmed by Employee Defendants’ continuing breaches
   15   of their duty of loyalty to Karma.
   16           REQUEST FOR TEMPORARY RESTRAINING ORDER AND
   17                        PRELIMINAY INJUNCTIVE RELIEF
   18           158. Plaintiff realleges and incorporates by this reference the allegations
   19   set forth in Paragraphs 1 through 157.
   20           159. Karma demonstrated, and the evidence to be presented at a hearing
   21   and/or trial will show, that Karma has a likelihood of success on the merits of one
   22   or more of its claims set forth in its Complaint.
   23           160. The CFAA, 18 U.S.C. § 1030(g) authorizes and provides an adequate,
   24   independent basis for the temporary restraining order and preliminary injunctive
   25   relief sought by Karma.
   26           161. Karma will be irreparably harmed without temporary (immediate) and
   27   preliminary injunctive relief that restores the status quo ante between Karma and
   28   Defendants before Defendants committed one or more of the wrongful acts
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    1   described in this Complaint.
    2           162. A balancing of the equities favors the entry of a temporary restraining
    3   order, followed by preliminary injunctive relief upon a hearing before the Court, in
    4   favor of Karma and, without the entry of such relief, Karma will suffer a greater
    5   hardship than Defendants would suffer if such relief were entered.
    6           163. Karma has no adequate remedy at law.
    7           164. It is in the public interest that confidential information remain
    8   protected and that the integrity of protected computers remains intact, rather than
    9   the alternative: unabated breaches of confidentiality agreements, disclosures of
   10   confidential and trade secret information and the hacking of computers by
   11   individuals and entities who are not authorized to access such computers or who
   12   access such computers in excess of their authorized access for the purposes of
   13   committing fraud, transferring information and/or destroying information that
   14   resides on protected computers.
   15                                 PRAYER FOR RELIEF
   16           WHEREFORE, for the wrongful acts of Defendants complained of in the
   17   foregoing causes of action, Karma respectfully requests the following relief
   18           A.      Judgment in its favor and against Defendants;
   19           B.      Temporary, preliminary, and permanent injunctive relief, including a
   20   temporary restraining order, prohibiting any further wrongful possession,
   21   disclosure, and/or misuse of Karma’s confidential and trade secret information, and
   22   preventing Defendants from profiting or benefiting from their wrongful conduct;
   23           C.      An order that Defendants return to Karma, and purge from their
   24   possession, custody and control, any and all documents, computer-based files or
   25   data, or information in any form, whether originals, copies, compilations or
   26   derivations, which were removed from Karma or Karma-owned computer issued
   27   to Employee Defendants by Karma, or which were obtained by Defendants or
   28   anyone acting on their behalf or in concert with him;
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    1           D.      An order that Defendants return any and all confidential and/or trade
    2   secret information of Karma, and an order prohibiting any further use or benefit
    3   from the use of said information;
    4           E.      An award of compensatory damages to Karma in an amount to be
    5   determined at a hearing and/or trial including, but not limited to, the attorney’s fees,
    6   computer forensic fees and costs Karma has incurred to investigate and address
    7   Defendants’ unauthorized access and improper use of Karma’s computers;
    8           F.      An order directing Defendants to disgorge all gross revenues and
    9   profits that they or anyone acting in concert or participation with them received as
   10   a result of their wrongful conduct, in an amount to be determined at trial;
   11           G.      An award in favor of Karma for its costs associated with this action,
   12   including without limitation its attorneys’ fees pursuant to the common law and
   13   under the Defend Trade Secrets Act, California Uniform Trade Secrets Act, and
   14   California Business and Professions Code section 17203;
   15           H.      An award in favor of Plaintiffs for their costs, damages and computer
   16   forensics and related investigation fees and costs pursuant to the Computer Fraud
   17   and Abuse Act, 18 U.S.C. § 1030, et seq.;
   18           I.      An award of exemplary damages in an amount twice the total of the
   19   damages recovered for actual loss as permitted by 18 U.S.C. § 1836(b)(3)(C) and
   20   California Civil Code section 3426.3.
   21           J.      An award of punitive damages in an amount to be determined at trial;
   22           K.      An award of attorneys’ fees pursuant to 18 U.S.C. § 1836(b)(3)(D)
   23   and California Civil Code section 3426.4.
   24           L.      Compensation to Karma for any unjust enrichment enjoyed by
   25   Defendants, including restitution of all revenues, gains, profits, and advantages
   26   obtained by Defendants as a result of their wrongful and unlawful conduct, in an
   27   amount to be determined at a hearing and/or trial;
   28   ///
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    1           M.      An award of pre-judgment and post-judgment interest as permitted by
    2   law;
    3           N.      An order imposing a constructive trust;
    4           O.      An order that Employee Defendants comply with the Confidentiality
    5   Agreement;
    6           P.      An order that LMC comply with the MNDA; and
    7           Q.      Any such other legal and equitable relief as the Court deems
    8   appropriate.
    9

   10   Dated: October 30, 2020                  FISHER & PHILLIPS LLP
   11
                                              By:/s/ Usama Kahf
   12                                           KARL R. LINDEGREN
                                                SARINA SALUJA
   13                                           USAMA KAHF
   14                                           SEAN T. KINGSTON
                                                ANDREW C. CRANE
   15                                           Attorneys for Plaintiff
                                                KARMA AUTOMOTIVE LLC
   16

   17

   18                              DEMAND FOR JURY TRIAL
   19           Karma demands trial by jury to the fullest extent as allowed by law.
   20

   21   Dated: October 30, 2020                  FISHER & PHILLIPS LLP
   22
                                              By:/s/ Usama Kahf
   23
                                                 KARL R. LINDEGREN
   24                                            SARINA SALUJA
   25                                            USAMA KAHF
                                                 SEAN T. KINGSTON
   26                                            ANDREW C. CRANE
                                                 Attorneys for Plaintiff
   27                                            KARMA AUTOMOTIVE LLC
   28

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          VJKU OWVWCN PQP.FKUENQUWTG CITGGOGPV )vjku Citggogpv* ku gpvgtgf kpvq
  dgvyggp Nqtfuvqyp Oqvqtu Eqtr/- c Fgncyctg eqtrqtcvkqp )NOE* cpf Mctoc Cwvqoqvkxg-
  NNE/ )vjg Eqorcp{ cpf vqigvjgt ykvj NOE- vjg Rctvkgu cpf gcej kpfkxkfwcnn{- c Rctv{* cu
  qh 1308031 )vjg Ghhgevkxg Fcvg*- vq rtqvgev vjg eqphkfgpvkcnkv{ qh egtvckp eqphkfgpvkcn kphqtocvkqp
  qh vjg Rctvkgu gzejcpigf kp eqppgevkqp ykvj uwrrn{kpi jctfyctg- uqhvyctg cpf eqpuwnvkpi
  ugtxkegu )vjg Rgtokvvgf Wug*/ Hqt rwtrqugu qh vjku Citggogpv- yjgp qpg Rctv{ ku fkuenqukpi
  Eqphkfgpvkcn Kphqtocvkqp vq vjg qvjgt Rctv{- vjg Rctv{ fkuenqukpi kvu Eqphkfgpvkcn Kphqtocvkqp ku
  tghgttgf vq cu vjg Fkuenqukpi Rctv{ cpf yjgp qpg Rctv{ ku tgegkxkpi Eqphkfgpvkcn Kphqtocvkqp
  htqo vjg qvjgt Rctv{- vjg Rctv{ tgegkxkpi vjg qvjgt Rctv{u Eqphkfgpvkcn Kphqtocvkqp ku tghgttgf vq
  cu vjg Tgegkxkpi Rctv{/

  2/     Cu wugf kp vjku Citggogpv- Eqphkfgpvkcn Kphqtocvkqp ogcpu cp{ cpf cnn pqp.rwdnke-
         eqphkfgpvkcn cpf0qt rtqrtkgvct{ kphqtocvkqp rtqxkfgf d{ vjg Fkuenqukpi Rctv{ vq vjg
         Tgegkxkpi Rctv{- yjgvjgt hwtpkujgf dghqtg- qp qt chvgt vjg fcvg qh vjku Citggogpv- kp cp{
         hqto qt ogfkwo- yjgvjgt qt pqv octmgf qt fgukipcvgf cu pqprwdnke- eqphkfgpvkcn qt
         rtqrtkgvct{- cpf tgictfnguu qh vjg rtgrctgt qt vjg ocppgt kp yjkej uwej kphqtocvkqp ku
         hwtpkujgf- kpenwfkpi cp{ cpf cnn pqvgu- cpcn{ugu- kpvgtrtgvcvkqpu- eqorkncvkqpu- ogoqtcpfc-
         tgrqtvu- uvwfkgu cpf qvjgt fqewogpvu qt ocvgtkcnu rtgrctgf d{ vjg Tgegkxkpi Rctv{ qt kvu
         tgrtgugpvcvkxgu vq vjg gzvgpv vjg{ eqpvckp- tghngev qt ctg qvjgtykug dcugf wrqp- kp yjqng qt
         kp rctv- cp{ uwej kphqtocvkqp/ Ykvjqwv nkokvkpi vjg hqtgiqkpi- Eqphkfgpvkcn Kphqtocvkqp
         kpenwfgu cp{ kphqtocvkqp vjcv vjg Tgegkxkpi Rctv{ mpqyu qt tgcuqpcdn{ ujqwnf mpqy- ku
         Eqphkfgpvkcn Kphqtocvkqp qh vjg Fkuenqukpi Rctv{- cpf cp{ kphqtocvkqp tgictfkpi vjg
         Fkuenqukpi Rctv{u cpf kvu chhknkcvgu< )c* rcvgpvu cpf rcvgpv crrnkecvkqpu= )d* vtcfg ugetgvu=
         cpf )e* kfgcu- vgejpkswgu- umgvejgu- ftcykpiu- yqtmu qh cwvjqtujkr- oqfgnu- kpxgpvkqpu-
         mpqy.jqy- rtqeguugu- crrctcvwugu- gswkrogpv- cniqtkvjou- uqhvyctg rtqitcou- uqhvyctg
         uqwteg fqewogpvu- cpf hqtowncg tgncvgf vq vjg ewttgpv- hwvwtg- cpf rtqrqugf rtqfwevu cpf
         ugtxkegu qh vjg Fkuenqukpi Rctv{ cpf kvu chhknkcvgu- kpenwfkpi ykvjqwv nkokvcvkqp vjg
         Fkuenqukpi Rctv{u cpf kvu chhknkcvgu kphqtocvkqp eqpegtpkpi tgugctej- gzrgtkogpvcn yqtm-
         fgxgnqrogpv- fgukip fgvcknu cpf urgekhkecvkqpu- gpikpggtkpi- hkpcpekcn kphqtocvkqp-
         rtqewtgogpv tgswktgogpvu- rwtejcukpi- ocpwhcevwtkpi- ewuvqogt nkuvu- kpxguvqtu-
         gornq{ggu- dwukpguu cpf eqpvtcevwcn tgncvkqpujkru- dwukpguu hqtgecuvu- ucngu cpf
         ogtejcpfkukpi- octmgvkpi rncpu cpf kphqtocvkqp vjg Fkuenqukpi Rctv{ qt kvu chhknkcvgu
         rtqxkfgu tgictfkpi cp{ vjktf rctv{ rgtuqp/ Cu wugf kp vjku Citggogpv- )c* vjg vgto rgtuqp
         ogcpu c pcvwtcn rgtuqp- eqtrqtcvkqp- nkokvgf nkcdknkv{ eqorcp{- rctvpgtujkr- cuuqekcvkqp-
         iqxgtpogpvcn cigpe{ qt qvjgt gpvkv{- cpf cp chhknkcvg qh c urgekhkgf rgtuqp ogcpu c
         rgtuqp vjcv fktgevn{ qt kpfktgevn{- vjtqwij qpg qt oqtg kpvgtogfkctkgu- eqpvtqnu- ku eqpvtqnngf
         d{ qt ku wpfgt eqooqp eqpvtqn ykvj vjg rgtuqp urgekhkgf cpf )d* vjg vgto tgrtgugpvcvkxg
         ogcpu cp{ fktgevqt- qhhkegt- gornq{gg- cigpv- ngpfgt- rctvpgt qt tgrtgugpvcvkxg- kpenwfkpi
         ykvjqwv nkokvcvkqp- cp{ ceeqwpvcpv- cvvqtpg{ qt hkpcpekcn cfxkuqt qh c rgtuqp/

  3/     Uwdlgev vq Ugevkqp 5- vjg Tgegkxkpi Rctv{ citggu vjcv cv cnn vkogu cpf pqvykvjuvcpfkpi cp{
         vgtokpcvkqp qt gzrktcvkqp qh vjku Citggogpv kv yknn jqnf cpf yknn ecwug kvu tgrtgugpvcvkxgu
         vq jqnf kp uvtkev eqphkfgpeg cpf pqv fkuenqug vq cp{ rgtuqp cp{ Eqphkfgpvkcn Kphqtocvkqp qh
         vjg Fkuenqukpi Rctv{- gzegrv cu crrtqxgf kp ytkvkpi d{ vjg Fkuenqukpi Rctv{- cpf vjg



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           Tgegkxkpi Rctv{ yknn pqv wug qt rgtokv vjg wug qh )yjgvjgt d{ vjg Tgegkxkpi Rctv{u
           tgrtgugpvcvkxgu qt qvjgtykug* vjg Eqphkfgpvkcn Kphqtocvkqp qh vjg Fkuenqukpi Rctv{ hqt cp{
           rwtrqug qvjgt vjcp vjg Rgtokvvgf Wug/ Vjg Tgegkxkpi Rctv{ yknn cnuq rtqvgev vjg Fkuenqukpi
           Rctv{u Eqphkfgpvkcn Kphqtocvkqp ykvj cv ngcuv vjg ucog fgitgg qh ectg vjcv vjg Tgegkxkpi
           Rctv{ wugu vq rtqvgev kvu qyp Eqphkfgpvkcn Kphqtocvkqp- dwv kp pq ecug- nguu vjcp tgcuqpcdng
           ectg/ Vjg Tgegkxkpi Rctv{ yknn nkokv ceeguu vq vjg Fkuenqukpi Rctv{u Eqphkfgpvkcn
           Kphqtocvkqp vq qpn{ vjqug qh kvu tgrtgugpvcvkxgu jcxkpi c pggf vq mpqy vjg Fkuenqukpi
           Rctv{u Eqphkfgpvkcn Kphqtocvkqp kp eqppgevkqp ykvj vjg Rgtokvvgf Wug cpf yjq jcxg
           ukipgf eqphkfgpvkcnkv{ citggogpvu eqpvckpkpi- qt ctg qvjgtykug dqwpf d{- eqphkfgpvkcnkv{
           qdnkicvkqpu cv ngcuv cu tguvtkevkxg cu vjqug eqpvckpgf jgtgkp/ Vjg Tgegkxkpi Rctv{ ujcnn dg
           tgurqpukdng hqt cp{ dtgcej qh vjku Citggogpv d{ cp{ qh kvu tgrtgugpvcvkxgu/

  4/       Ykvjqwv vjg gzrtguu rtkqt ytkvvgp eqpugpv qh vjg Fkuenqukpi Rctv{- vjg Tgegkxkpi Rctv{ yknn
           pqv- pqt yknn vjg Tgegkxkpi Rctv{ rgtokv cp{ qh kvu tgrtgugpvcvkxgu vq- fkuenqug vq cp{ rgtuqp
           cp{ kphqtocvkqp ykvj tgurgev vq )k* vjg hcev qh kvu tgegkrv qh qt ceeguu vq cp{ qh vjg Fkuenqukpi
           Rctv{u Eqphkfgpvkcn Kphqtocvkqp )kk* vjg hcev- pcvwtg qt uvcvwu qh cp{ fkuewuukqpu dgvyggp
           vjg Rctvkgu tgictfkpi vjg Rgtokvvgf Wug- qt )kkk* cp{ qvjgt hcevu qt kphqtocvkqp ykvj tgurgev
           vq vjg pcvwtg- vgtou qt uvcvwu qh cp{ fkuewuukqpu tgictfkpi vjg Rgtokvvgf Wug dgvyggp vjg
           Rctvkgu/

  5/       Eqphkfgpvkcn Kphqtocvkqp ujcnn pqv kpenwfg cp{ kphqtocvkqp vjcv vjg Tgegkxkpi Rctv{ ecp
           fgoqpuvtcvg ykvj eqorgvgpv gxkfgpeg<

           )c*     ycu kp vjg rwdnke fqockp cv vjg vkog kv ycu fkuenqugf vq vjg Tgegkxkpi Rctv{ qt
           gpvgtu vjg rwdnke fqockp uwdugswgpv vq vjg vkog kv ycu fkuenqugf vq vjg Tgegkxkpi Rctv{- kp
           gcej ecug- qvjgt vjcp cu c tguwnv qh cp{ fktgev qt kpfktgev cev qt qokuukqp d{ vjg Tgegkxkpi
           Rctv{ qt kvu tgrtgugpvcvkxgu=

           )d*    ycu kp vjg Tgegkxkpi Rctv{u rquuguukqp htgg qh cp{ qdnkicvkqp )kpenwfkpi cp{
           rtqhguukqpcn- eqpvtcevwcn ngicn qt hkfwekct{ qdnkicvkqp* qh eqphkfgpeg cv vjg vkog kv ycu
           fkuenqugf vq vjg Tgegkxkpi Rctv{= qt

           )e*    ycu fgxgnqrgf d{ gornq{ggu qt cigpvu qh vjg Tgegkxkpi Rctv{ yjq jcf pq ceeguu
           vq cpf yjq fkf pqv qvjgtykug wug- tgn{ qp qt tghgtgpeg cp{ qh vjg Fkuenqukpi Rctv{u
           Eqphkfgpvkcn Kphqtocvkqp kp eqppgevkqp ykvj uwej fgxgnqrogpv/

  6/       Pqvykvjuvcpfkpi vjg cdqxg- vjg Tgegkxkpi Rctv{ oc{ fkuenqug egtvckp Eqphkfgpvkcn
           Kphqtocvkqp qh vjg Fkuenqukpi Rctv{- ykvjqwv xkqncvkpi vjg qdnkicvkqpu qh vjku Citggogpv-
           vq vjg gzvgpv uwej fkuenquwtg ku ngicnn{ eqorgnngf d{ c xcnkf qtfgt qh c eqwtv qt qvjgt
           iqxgtpogpvcn dqf{ jcxkpi lwtkufkevkqp/ Kp uwej ektewouvcpegu- vjg Tgegkxkpi Rctv{ ujcnn
           rtqxkfg vjg Fkuenqukpi Rctv{ ykvj rtqorv ytkvvgp pqvkeg kp cfxcpeg qh uwej fkuenquwtg kp
           qtfgt vq rgtokv vjg Fkuenqukpi Rctv{ vq uggm c rtqvgevkxg qtfgt qt vcmg qvjgt cevkqp kv fggou
           crrtqrtkcvg/ Kp uwej ektewouvcpegu- vjg Tgegkxkpi Rctv{ ujcnn wug tgcuqpcdng ghhqtvu cuukuv
           vjg Fkuenqukpi Rctv{ kp qdvckpkpi c rtqvgevkxg qtfgt rtgxgpvkpi qt qvjgt tgcuqpcdng
           cuuwtcpegu vjcv eqphkfgpvkcn vtgcvogpv yknn dg ceeqtfgf vjg Fkuenqukpi Rctv{u Eqphkfgpvkcn
           Kphqtocvkqp/ Kh- kp vjg cdugpeg qh c rtqvgevkxg qtfgt- vjg Fkuenqukpi Rctv{ qt cp{ qh kvu


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           tgrtgugpvcvkxgu ctg- kp vjg ytkvvgp qrkpkqp qh vjg Tgegkxkpi Rctv{u ngicn eqwpugn- eqorgnngf
           cu c ocvvgt qh ncy vq fkuenqug vjg Fkuenqukpi Rctv{u Eqphkfgpvkcn Kphqtocvkqp- vjgp vjg
           Tgegkxkpi Rctv{ qt uwej tgrtgugpvcvkxgu oc{ fkuenqug vq vjg rgtuqp eqorgnnkpi uwej
           fkuenquwtg qt cu kv qtfgtu qpn{ vjcv rctv qh vjg Fkuenqukpi Rctv{u Eqphkfgpvkcn Kphqtocvkqp
           cu ku tgswktgf d{ ncy vq dg fkuenqugf cpf yknn wug tgcuqpcdng ghhqtvu vq nkokv vjg ueqrg qh
           fkuenquwtg cpf qdvckp eqphkfgpvkcn vtgcvogpv vjgtghqt/

  7/       Vjg Tgegkxkpi Rctv{ yknn rtqorvn{ pqvkh{ vjg Fkuenqukpi Rctv{ kp vjg gxgpv qh cp{ nquu qt
           wpcwvjqtk|gf fkuenquwtg qh cp{ qh vjg Fkuenqukpi Rctv{u Eqphkfgpvkcn Kphqtocvkqp d{ vjg
           Tgegkxkpi Rctv{ qt kvu tgrtgugpvcvkxgu/

  8/       Wrqp vjg gctnkgt qh vgtokpcvkqp qt gzrktcvkqp qh vjku Citggogpv- qt cv cp{ vkog wrqp ytkvvgp
           tgswguv )yjkej kpenwfgu g.ockn* qh vjg Fkuenqukpi Rctv{- vjg Tgegkxkpi Rctv{ yknn- cv vjg
           Fkuenqukpi Rctv{u qrvkqp- rtqorvn{ tgvwtp vq vjg Fkuenqukpi Rctv{ qt fguvtq{ cpf ecwug vjg
           Tgegkxkpi Rctv{u tgrtgugpvcvkxgu- vq tgvwtp qt fguvtq{ cp{ qh vjg Fkuenqukpi Rctv{u
           Eqphkfgpvkcn Kphqtocvkqp kp kvu cpf vjgkt rquuguukqp/ Rtqorvn{ hqnnqykpi uwej tgvwtp qt
           fguvtwevkqp- vjg Tgegkxkpi Rctv{ ujcnn rtqxkfg vjg Fkuenqukpi Rctv{ ykvj c egtvkhkecvg fwn{
           gzgewvgf d{ cp{ cwvjqtk|gf qhhkegt qh vjg Tgegkxkpi Rctv{ egtvkh{kpi vjg Tgegkxkpi Rctv{u
           eqornkcpeg ykvj vjku Ugevkqp 8/

  9/       C Fkuenqukpi Rctv{u Eqphkfgpvkcn Kphqtocvkqp ku cpf ujcnn tgockp vjg uqng rtqrgtv{ qh vjg
           Fkuenqukpi Rctv{/ Vjg Tgegkxkpi Rctv{ tgeqipk|gu cpf citggu vjcv pqvjkpi eqpvckpgf kp vjku
           Citggogpv yknn dg eqpuvtwgf cu itcpvkpi cp{ rtqrgtv{ tkijvu- d{ nkegpug qt qvjgtykug- vq
           cp{ qh vjg Fkuenqukpi Rctv{u Eqphkfgpvkcn Kphqtocvkqp fkuenqugf wpfgt vjku Citggogpv- qt
           vq cp{ kpxgpvkqp qt cp{ rcvgpv- eqr{tkijv- vtcfgoctm- qt qvjgt kpvgnngevwcn rtqrgtv{ tkijv
           vjcv jcu kuuwgf qt vjcv oc{ kuuwg- dcugf qp vjg Fkuenqukpi Rctv{u Eqphkfgpvkcn Kphqtocvkqp/
           Vjg Tgegkxkpi Rctv{ yknn pqv ocmg- jcxg ocfg- wug qt ugnn hqt cp{ rwtrqug cp{ rtqfwev qt
           qvjgt kvgo wukpi- kpeqtrqtcvkpi qt fgtkxgf htqo vjg Fkuenqukpi Rctv{u Eqphkfgpvkcn
           Kphqtocvkqp/ Pgkvjgt vjku Citggogpv pqt vjg fkuenquwtg qh c Fkuenqukpi Rctv{u Eqphkfgpvkcn
           Kphqtocvkqp jgtgwpfgt ujcnn tguwnv kp cp{ qdnkicvkqp qp vjg rctv qh gkvjgt Rctv{ vq gpvgt kpvq
           cp{ hwtvjgt citggogpv ykvj vjg qvjgt Rctv{- nkegpug cp{ rtqfwevu qt ugtxkegu vq vjg qvjgt
           Rctv{- qt vq tgswktg vjg Fkuenqukpi Rctv{ vq fkuenqug cp{ rctvkewnct rctv qh vjg Fkuenqukpi
           Rctv{u Eqphkfgpvkcn Kphqtocvkqp/ Pqvjkpi kp vjku Citggogpv etgcvgu qt ujcnn dg fggogf vq
           etgcvg cp{ gornq{ogpv- lqkpv xgpvwtg- qt cigpe{ tgncvkqpujkr dgvyggp vjg Rctvkgu/

  ;/       Eqphkfgpvkcn Kphqtocvkqp yknn pqv dg tgrtqfwegf kp cp{ hqto gzegrv cu tgswktgf vq
           ceeqornkuj vjg Rgtokvvgf Wug/ Cp{ tgrtqfwevkqp d{ vjg Tgegkxkpi Rctv{ qh vjg Fkuenqukpi
           Rctv{u Eqphkfgpvkcn Kphqtocvkqp yknn tgockp vjg rtqrgtv{ qh vjg Fkuenqukpi Rctv{ cpf yknn
           eqpvckp cp{ cpf cnn eqphkfgpvkcn qt rtqrtkgvct{ pqvkegu qt ngigpfu vjcv crrgct qp vjg qtkikpcn-
           wpnguu qvjgtykug cwvjqtk|gf kp ytkvkpi d{ vjg Fkuenqukpi Rctv{/

  21/      Gzegrv cu qvjgtykug gzrtguun{ rtqxkfgf kp vjku Citggogpv- vjg Rctvkgu qdnkicvkqpu wpfgt
           vjku Citggogpv yknn vgtokpcvg vjtgg )4* {gct)u* chvgt vjg Ghhgevkxg Fcvg= rtqxkfgf- jqygxgt-
           vjcv )c* Ugevkqpu 8- 9- 21- 22- 23- 24- 25- 28- cpf 2;aqh vjku Citggogpv ujcnn uwtxkxg
           vgtokpcvkqp- )d* pq vgtokpcvkqp ujcnn tgnkgxg vjg Tgegkxkpi Rctv{ qh cp{ nkcdknkv{ kp tgurgev
           qh cp{ dtgcej qh vjku Citggogpv d{ vjg Tgegkxkpi Rctv{ rtkqt vq vgtokpcvkqp cpf )e* vjg


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           qdnkicvkqpu qh eqphkfgpvkcnkv{ cpf wug tguvtkevkqpu ugv hqtvj kp vjku Citggogpv ykvj tgurgev
           vq c Fkuenqukpi Rctv{u Eqphkfgpvkcn Kphqtocvkqp vjcv swcnkhkgu cu c vtcfg ugetgv wpfgt
           crrnkecdng ncy ujcnn uwtxkxg hqt uq nqpi cu uwej Fkuenqukpi Rctv{u Eqphkfgpvkcn
           Kphqtocvkqp swcnkhkgu cu c vtcfg ugetgv wpfgt crrnkecdng ncy/

  22/      PGKVJGT FKUENQUKPI RCTV[ PQT KVU TGRTGUGPVCVKXGU OCMGU CP[
           TGRTGUGPVCVKQP QT YCTTCPV[ CU VQ VJG CEEWTCE[ QT
           EQORNGVGPGUU QH CP[ QH KVU EQPHKFGPVKCN KPHQTOCVKQP CPF
           PGKVJGT FKUENQUKPI RCTV[ PQT KVU TGRTGUGPVCVKXGU UJCNN JCXG CP[
           NKCDNKV[ VQ VJG TGEGKXKPI RCTV[ QT KVU TGRTGUGPVCVKXGU TGUWNVKPI
           HTQO WUG QH VJG FKUENQUKPI RCTV[U EQPHKFGPVKCN KPHQTOCVKQP D[
           VJG TGEGKXKPI RCTV[ QT KVU TGRTGUGPVCVKXGU/ YKVJQWV NKOKVKPI VJG
           HQTGIQKPI- VJG FKUENQUKPI RCTV[ KU RTQXKFKPI EQPHKFGPVKCN
           KPHQTOCVKQP QP CP CU KU DCUKU HQT WUG D[ VJG TGEGKXKPI RCTV[ CV
           KVU QYP TKUM CPF VJG FKUENQUKPI RCTV[ FKUENCKOU CNN YCTTCPVKGU-
           YJGVJGT GZRTGUU- KORNKGF QT UVCVWVQT[- KPENWFKPI YKVJQWV
           NKOKVCVKQP CP[ KORNKGF YCTTCPVKGU QH VKVNG- PQP.KPHTKPIGOGPV QH
           VJKTF RCTV[ TKIJVU- OGTEJCPVCDKNKV[- QT HKVPGUU HQT C RCTVKEWNCT
           RWTRQUG/

  23/      Vjku Citggogpv cpf cp{ cevkqp tgncvgf vjgtgvq yknn dg iqxgtpgf- eqpvtqnngf- kpvgtrtgvgf-
           cpf fghkpgf d{ cpf wpfgt vjg ncyu qh vjg Uvcvg qh Qjkq- ykvjqwv ikxkpi ghhgev vq cp{
           eqphnkevu qh ncyu rtkpekrngu vjcv tgswktg vjg crrnkecvkqp qh vjg ncy qh cp{ qvjgt lwtkufkevkqp/
           Gcej Rctv{ kttgxqecdn{ cpf wpeqpfkvkqpcnn{ yckxgu cp{ tkijv kv oc{ jcxg vq c vtkcn d{ lwt{
           kp tgurgev qh cp{ ngicn cevkqp ctkukpi qwv qh qt tgncvkpi vq vjku Citggogpv cpf eqxgpcpvu vjcv
           pgkvjgt kv pqt cp{ qh kvu tgrtgugpvcvkxgu yknn cuugtv )yjgvjgt cu rnckpvkhh- fghgpfcpv qt
           qvjgtykug* cp{ tkijv vq vtkcn d{ lwt{ kp cp{ hqtwo kp tgurgev qh cp{ ngicn cevkqp ctkukpi qwv
           qh qt tgncvgf vq vjku Citggogpv/

  24/      Vjg Rctvkgu jgtgd{ citgg vjcv c dtgcej qh vjku Citggogpv d{ uwej Rctv{ qt kvu
           tgrtgugpvcvkxgu yknn ecwug kttgrctcdng fcocig vq vjg Fkuenqukpi Rctv{ hqt yjkej tgeqxgt{
           qh oqpg{ fcocigu cnqpg yqwnf dg kpcfgswcvg- cpf- ceeqtfkpin{- vjg Fkuenqukpi Rctv{ yknn
           dg gpvkvngf vq uggm rtqorv urgekhke rgthqtocpeg cpf kplwpevkxg tgnkgh cu tgogfkgu hqt cp{
           xkqncvkqp qh vjku Citggogpv d{ vjg Tgegkxkpi Rctv{ qt kvu tgrtgugpvcvkxgu- kp cffkvkqp vq cp{
           cpf cnn qvjgt tgogfkgu cxckncdng cv ncy qt kp gswkv{/

  25/      Kh cp{ rtqxkukqp qh vjku Citggogpv ku hqwpf d{ c rtqrgt cwvjqtkv{ vq dg wpgphqtegcdng qt
           kpxcnkf- uwej wpgphqtegcdknkv{ qt kpxcnkfkv{ yknn pqv tgpfgt vjku Citggogpv wpgphqtegcdng
           qt kpxcnkf cu c yjqng cpf- kp uwej gxgpv- uwej rtqxkukqp yknn dg ejcpigf cpf kpvgtrtgvgf uq
           cu vq dguv ceeqornkuj vjg qdlgevkxgu qh uwej wpgphqtegcdng qt kpxcnkf rtqxkukqp ykvjkp vjg
           nkokvu qh crrnkecdng ncy qt crrnkecdng eqwtv fgekukqpu/ Pq hcknwtg qt fgnc{ kp gzgtekukpi cp{
           tkijv jgtgwpfgt yknn qrgtcvg cu c yckxgt vjgtgqh- pqt yknn cp{ ukping qt rctvkcn gzgtekug
           vjgtgqh rtgenwfg cp{ qvjgt qt hwtvjgt gzgtekug vjgtgqh qt vjg gzgtekug qh cp{ qvjgt tkijv/

  26/      Pgkvjgt Rctv{ yknn pqv cuukip qt vtcpuhgt cp{ tkijvu qt qdnkicvkqpu wpfgt vjku Citggogpv
           ykvjqwv vjg rtkqt ytkvvgp eqpugpv qh vjg qvjgt Rctv{/ Cp{ cvvgorvgf cuukipogpv qt vtcpuhgt


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  5936 573 8614 3
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           kp xkqncvkqp qh vjg hqtgiqkpi yknn dg pwnn cpf xqkf/ Pqvykvjuvcpfkpi vjg hqtgiqkpi- NOE
           oc{ cuukip vjku Citggogpv vq c uweeguuqt.kp.kpvgtguv vq NOEu dwukpguu- yjgvjgt uwej
           cuukipogpv qeewtu kp eqppgevkqp ykvj c fktgev qt kpfktgev ucng qh uwduvcpvkcnn{ cnn qh NOEu
           cuugvu- gswkv{- c ogtigt- qt qvjgtykug/

  27/      Pgkvjgt Rctv{ yknn gzrqtv- fktgevn{ qt kpfktgevn{- cp{ W/U/ vgejpkecn fcvc ceswktgf d{ uwej
           Rctv{ htqo vjg qvjgt Rctv{ rwtuwcpv vq vjku Citggogpv- qt cp{ rtqfwevu wvknk|kpi uwej fcvc-
           kp xkqncvkqp qh vjg Wpkvgf Uvcvgu gzrqtv ncyu qt tgiwncvkqpu/

  28/      Cnn pqvkegu qt tgrqtvu rgtokvvgf qt tgswktgf wpfgt vjku Citggogpv yknn dg kp ytkvkpi cpf
           yknn dg fgnkxgtgf d{ rgtuqpcn fgnkxgt{- gngevtqpke ockn- qt d{ egtvkhkgf qt tgikuvgtgf ockn-
           tgvwtp tgegkrv tgswguvgf- cpf yknn dg fggogf ikxgp wrqp rgtuqpcn fgnkxgt{- hkxg )6* fc{u
           chvgt fgrqukv kp vjg ockn- qt wrqp cempqyngfiogpv qh tgegkrv qh gngevtqpke vtcpuokuukqp/
           Pqvkegu yknn dg ugpv vq vjg cfftguugu cpf gockn cfftguugu ugv hqtvj cv vjg gpf qh vjku
           Citggogpv qt uwej qvjgt cfftguu cu gkvjgt rctv{ oc{ urgekh{ kp ytkvkpi/

  29/      Gcej Rctv{ citggu vjcv vjg uqhvyctg rtqitcou qh vjg qvjgt Rctv{ oc{ eqpvckp xcnwcdng
           eqphkfgpvkcn kphqtocvkqp cpf citggu vjcv kv yknn pqv oqfkh{- tgxgtug gpikpggt- fgeqorkng-
           etgcvg qvjgt yqtmu htqo- qt fkucuugodng cp{ uqhvyctg rtqitcou eqpvckpgf kp vjg qvjgt
           Rctv{u Eqphkfgpvkcn Kphqtocvkqp ykvjqwv vjg rtkqt ytkvvgp eqpugpv qh vjg qvjgt Rctv{/

  2;/      Vjku Citggogpv ku vjg hkpcn- eqorngvg cpf gzenwukxg citggogpv qh vjg Rctvkgu ykvj tgurgev
           vq vjg uwdlgev ocvvgtu jgtgqh cpf uwrgtugfgu cpf ogtigu cnn rtkqt fkuewuukqpu dgvyggp vjg
           Rctvkgu ykvj tgurgev vq uwej ocvvgtu/ Pq oqfkhkecvkqp qh qt cogpfogpv vq vjku Citggogpv
           yknn dg ghhgevkxg wpnguu kp ytkvkpi cpf ukipgf d{ vjg Rctv{ vq dg ejctigf/ Vjku Citggogpv
           oc{ dg gzgewvgf kp vyq qt oqtg eqwpvgtrctvu- gcej qh yjkej yknn dg fggogf cp qtkikpcn-
           dwv cnn qh yjkej yjgp vcmgp vqigvjgt yknn eqpuvkvwvg qpg cpf vjg ucog citggogpv/
           Gngevtqpke eqrkgu qh ukipcvwtgu yknn dg fggogf vq dg qtkikpcnu hqt cnn rwtrqugu/


                             ]Tgockpfgt qh rcig kpvgpvkqpcnn{ nghv dncpm_




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REDACTED


From: Steven Slawson <steven.slawson@lordstownmotors.com>
Sent: Thursday, August 6, 2020 8:20 PM
To: Lewis Liu <LLiu@karmaautomo ve.com>; Jeﬀ DeFrank <JDeFrank@karmaautomo ve.com>
Subject: Termina on of LOI

Dear Mr. Liu and Mr. DeFrank,

LMC appreciates your interest in our vehicle design. A er careful review, LMC has decided to move in a diﬀerent direc on
with respect to your current oﬀering. A ached is the le er termina ng the LOI.
Best wishes to Karma in your future endeavors.

Regards,
Steven Slawson
Director of Purchasing



M (216) 925­8577
2300 Hallock Young Road, Lordstown OH 44481
lordstownmotors.com

#RIDEWITHLORDSTOWN




                                                                                                           Exhibit_4
                                                                                                             Page_1
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LMC ­ Karma ­ ltr 8­6­20.docx




                                  August 6, 2020

                                  Karma Automotive LLC
                                  9950 Jeronimo Road
                                  Irvine, CA 92618

                                  Attn: Lewis Lui – Lliu@karmaautomotive.com
                                        Jeff Defrank – JdeFrank@karmaautomotive.com

                                  RE:    Termination of Letter of Intent dated June 11, 2020

                                  Gentlemen:

                                  Please be advised that upon further review of the specifications, quotations and offerings of
                                  Karma Automotive LLC (“Karma”) under pursuant to the Letter of Intent dated June 11, 2020,
                                  Lordstown Motors Corp. (“LMC”) has determined that the gap in material costs and the
                                  engineering expense targets are significant and outside the parameters and expectations of LMC
                                  with respect to these services and materials. Therefore, effective immediately, LMC hereby
                                  notifies you of its termination of the Letter of Intent and will cease all communications with
                                  Karma related to the pursuit of any sourcing agreements, product supply agreements,
                                  development and consulting agreements, and any ancillary agreements.

                                  Pursuant to the Confidentiality Agreement dated February 7, 2020, we request all confidential
                                  information delivered to Karma by LMC (and any of its associated vendors), both hardcopies and
                                  digital copies be returned, destroyed and/or erased related to the Letter of Intent. We will
                                  return, destroy and/or erase any confidential information received from Karma in return.

                                  If you have any questions, please do not hesitate to contact the undersigned.

                                  Sincerely,




                                  Steven Slawson
                                  Director of Purchasing

                                  Cc:    Darren Post
                                         Thomas V. Canepa




                                                                                                                            Exhibit_4
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  Hi John

  Yes. We are slowly coming back. I think we can start looking again but the team may be larger
  than what I first expected. The corporate office may combine my engineering team with a
  service center and admin offices. Let me gather some more details.

  Do you have time for a call this week to brainstorm?

  Thanks,
  Joe

  Thanks, Joe


  From: John Cazort <jcazort@tenantbase.com>
  Sent: Wednesday, July 29, 2020 11:42:54 AM
  To: Roger Durre <rjdurre@aol.com>
  Subject: Re: Initial Survey - Flex Space

  Hi Joe,

  I hope this email finds you well. I wanted to touch base to see if you had started to reconsider the
  flex space we discussed a few months back. There are a few spaces that recently entered the
  market that I believe would be a good fit.

  Please let me know if you would like me to send the listing over.

  Thank you,

  John Cazort
  Associate Advisor
  BRE License #02099560
  C 949-933-5692 | jcazort@tenantbase.com
  1500 Quail St, Suite 500
  Newport Beach, 92660
  www.tenantbase.com


  Tuesday, April 28, 2020 at 10:23:37 PM PDT, Roger Durre <rjdurre@aol.com>:
   Hi John,

   Things are on hold as the COVID-19 epidemic runs its course. I appreciate your support and
   will check back in once we get reorganized.

   Thanks,
   Roger

   Thanks, Joe




                                                                                                  Exhibit_5
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   From: John Cazort <jcazort@tenantbase.com>
   Sent: Tuesday, April 14, 2020 9:43:55 AM
   To: Roger Durre <rjdurre@aol.com>
   Subject: Re: Initial Survey - Flex Space

   Hi Roger,

   I hope you're staying healthy and safe. I just left you a voicemail regarding your commercial
   space requirement. I wanted to see if you had taken a look at the availability survey is sent over
   on 3/30 and if any of the building caught your eye.

   Please don't hesitate to reach out to me if you would like to tour any of the properties.

   Best regards,

   John Cazort
   Associate Advisor
   BRE License #02099560
   C 949-933-5692 | jcazort@tenantbase.com
   1500 Quail St, Suite 500
   Newport Beach, 92660
   www.tenantbase.com


   Monday, March 30, 2020 at 7:38:40 PM PDT, John Cazort <jcazort@tenantbase.com>:
   Hi Roger,

    Im glad we were able to connect today. Find attached is an initial survey of properties. The
    reason for asking about the number of employee working on a daily basis is most properties
    have an allocated number of parking spaces per squa re footage without the option of street
    parking, usually 3 spaces per 1,000 square feet. We have run into problems for this reason in
    the past when trying to keep the footprint small.

    I will continue to keep an eye out for alternative options. Please let me know if you have any
    additional questions or would like to set up tours for any of the properties on the survey.

    Best regards,

    John Cazort
    Associate Advisor
    BRE License #02099560
    C 949-933-5692 | jcazort@tenantbase.com
    1500 Quail St, Suite 500
    Newport Beach, 92660
    www.tenantbase.com




                                                                                                 Exhibit_5
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  From: John LaFleur <John.lafleur@lordstownmotors.com>
  Sent: Tuesday, August 04, 2020 2:22 PM
  To: rjdurre@aol.com; Joe Durre <joe.durre@lordstownmotor s.com>
  Subject: FW: LA Office

  Hi Joe,

  Welcome aboard! I am beginning the search for office space in the Ervine area for your team as well as
  interviewing additional personnel in the Sales, Engineering and HR roles. Let me know when you are
  available to chat so I can begin to narrow down the areas that I shou ld look at. I plan to be out there the
  week of 8/17 and can meet with you to investigate possible locations.

  John

  John LaFleur
  Chief Operat ing Officer
    m      m   m   m   V




  M (513) 315-1046
  2 300 Hallock Young Road, Lordstown OH 44481
  john.lafleur@lordstownmotors.com
  www.lordstownmotors.com


  Sent from Mail for Windows 10

  From: Rich Schmidt
  Sent: Tuesday, August 4, 2020 4:18 PM
  To: John LaFleur; John Vo
  Subject: Fwd: LA Office

  John L please reach out the new Director of software there to support finding the best location.

  < o:p>




                                                                                                         Exhibit_5
                                                                                                           Page_3
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  FYI on initial feedback from commercial realtor

  From: rjdurre@aol.com <rjdurre@aol.com>
  Sent: Thursday, August 06, 2020 9:13 AM
  To: 'joe.durre@lordstownmotors.com ' <joe.durre@lordstownmotors.com>
  Subject: FW: Available Commercial Space




  From: John Cazort <jcazort@tenantbase.com>
  Sent: Wednesday, August 05, 2020 1:25 PM
  To: Roger Durre < rjdurre@aol.com>
  Cc: Colin McKibbin <cmckibbin@tenantbase.com>; Peter Dumaine <peter@tenantbase.com>
  Subject: Available Commercial Space

  Hi Joe,

  It was great to reconnect with you yesterday. We are excited to assist you with s ecuring a new location.

  Attached is a broad search of properties that are available in Irvine . I set the size perimeter between
  13,000 and 25,000 square feet. Please let me know if you would like me to expand any of these
  perimeters. We will still need to verify if the landlords are ok with the use and then have you check with
  the city.

  In the meantime, please review and let us know any feedback you may have. Please feel f ree to call,
  text or email us if you have any questions.

  Thank you,

  John Cazort
  Associate Advisor
  BRE License #02099560
  C 949-933-5692 | jcazort@tenantbase.com
  1500 Quail St, Suite 500
  Newport Beach, 92660
  www.tenantbase.com




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  John,

  I had to cancel my trip to CA next week but I am still planning to come out the week of 8/24.

  I was involved in a car accident (hit and run) on Wednesday and I am dealing with some injuries.
  Let’s discuss my schedule for the week of 8/24.

  Sorry for the last minute schedule change

  John

  Get Outlook for iOS

  From: John Cazort <jcazort@tenantbase.com>
  Sent: Thursday, August 13, 2020 4:41 PM
  To: John LaFleur; Roger Durre
  Cc: Colin McKibbin; Peter Dumaine
  Subject: Re: FW: Available Commercial Space

  Hi John and Joe,

  I have attached the brochure for the old Mini dealership. Please let me know if you have any
  specific questions.

  We will have a walk through of the space next week.

  Thank you,

  On Tue, Aug 11, 2020 at 8:21 AM John Cazort <jcazort@tenantbase.com> wrote:
   Hi John,

   Thank you for sending these over! We will get started digging up all the information on these as
   well. In the meantime, did you review Alton Plaza which was sent over in a different email?

   Best,

   On Tue, Aug 11, 2020 at 7:34 AM John LaFleur <John.lafleur@lordstownmotors.com> wrote:

   Hi John,



   It was good to chat with you the other day. I was wondering if you had any ideas for me to
   consider for our Irvine office needs.




                                                                                                  Exhibit_5
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   I did find a few places in addition to the two vacant dealerships in the Irvine area. They are as
   follows:



             8775-8785 Research Dr, Irvine CA

             40 Tesla, Irvine CA

             27 Hughes, Irvine CA

             17771 Micthell N, Irvine CA



   Perhaps we can talk today and set up some appointments for next week while I am in Irvine
   (8/19 or 8/20)



   Regards

   John




   John LaFleur

   Chief Operating Officer




   M (513) 315-1046

   2300 Hallock Young Road, Lordstown OH 44481

   john.lafleur@lordstownmotors.com

   www.lordstownmotors.com




                                                                                                 Exhibit_5
                                                                                                   Page_6
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   From: John Cazort <jcazort@tenantbase.com>
   Sent: Wednesday, August 05, 2020 1:25 PM
   To: Roger Durre <rjdurre@aol.com>
   Cc: Colin McKibbin <cmckibbin@tenantbase.com>; Peter Dumaine <peter@tenantbase.com>
   Subject: Available Commercial Space



   Hi Joe,



   It was great to reconnect with you yesterday. We are excited to assist you with securing a new
   location.



   Attached is a broad search of properties that are available in Irvine. I set the size perimeter
   between 13,000 and 25,000 square feet. Please let me know if you would like me to ex pand
   any of these perimeters. We will still need to verify if the landlords are ok with the use and
   then have you check with the city.



   In the meantime, please review and let us know any feedback you may have. Please feel free to
   call, text or email us if you have any questions.



   Thank you,



   John Cazort
   Associate Advisor
   BRE License #02099560
   C 949-933-5692 | jcazort@tenantbase.com
   1500 Quail St, Suite 500
   Newport Beach, 92660

   www.tenantbase.com




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   --
   John Cazort




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  Thanks Darren. We spoke briefly about not just infotainment but electronics and software in general.&n
  bsp; What do you think about including ADAS into this role? I think it’s important and sells well with
  investors.

  Joe

  From: Darren Post <darren.post@lordstownmotors.com>
  Sent: Thursday, April 02, 2020 11:49 AMTo: Joe.Durre@gmail.com
  Subject: EE Infotainment and Connectivity Org Chat - Draft 4-2-2020




                                                                                                   Exhibit_6
                                                                                                     Page_1
Case 8:20-cv-02104-JVS-DFM Document 1 Filed 10/30/20 Page 96 of 107 Page ID #:96
From:            Darren Post <darren.post@lordstownmotors.com>
Sent time:       07/30/2020 04:24:04 PM
To:              Joe Durre
Subject:         Endurance Infotainment Systems Cost Savings Estimate: justify LMC Infotainment ­ West


Hi Joe,

Can you help quan fy the savings that a LMC Infotainment Group could save versus the Karma System quote? Here is the
quote:




This will help me jus fy the cost for LMC Infotainment West. From the above System B quote, LMC would pay Karma $10.982
million.

        I es mate with your LMC group, the Endurance infotainment development costs would be salaries + tooling + some
        ED&D + some cloud/conn costs: $3.9 M + $2 M tooling & ED&D + $0.5 million cloud & connec vity = $5.9 million,

        With a total savings of $4.6 million overall versus Karma’s cost of $10.98 million

              (Savings detail: $2 million in ED&D, and 2022‐2024 costs of ($650K + $325K + $325) and all or a por on of the cloud &
              connectivity costs in all years ($325K / year for 2020 to 2024) – total of $4.6 million savings is my estimate.)

        I think you could also save $500 / vehicle in BOM costs (let me know your es mate)


Let me know your thoughts on my savings es mates.

Regards,

Darren




Darren Post
Chief Engineer



O (586) 634­8406 | M (586) 634­8406
2300 Hallock Young Road, Lordstown OH 44481
lordstownmotors.com

#RIDEWITHLORDSTOWN
                                                                                                                 Exhibit_7
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LMC August 2020
Saturday, August 01, 2020   8:53 AM




                                                                          Exhibit_8
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  Screen clipping taken: 8/1/2020 8:54 AM




  Screen clipping taken: 8/1/2020 9:05 AM




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  Screen clipping taken: 8/1/2020 9:06 AM




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#RIDEWITHLORDSTOWN
     Case 8:20-cv-02104-JVS-DFM Document 1 Filed 10/30/20 Page 101 of 107 Page ID #:101
From: Steve Burns <Steve.burns@lordstownmotors.com>
Sent: Tuesday, August 4, 2020 3:43 PM
To: Darren Post <darren.post@lordstownmotors.com>; Rich Schmidt <Rich.schmidt@lordstownmotors.com>
Subject: LA Office

Rich,

I was thinking that if we are going to have a software office out in LA, maybe it could double as our sales/service dealership.

What do you think? Could the software team benefit from having a few bays with lifts for testing and developing their software?

Thanks,
Steve

Sent from Mail for Windows 10




                                                                                                                   Exhibit_9
                                                                                                                     Page_2
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   Sent:      Tue, 04 Aug 2020 23:51:57 GMT
   From:      "Darren Post" <darren.post@lordstownmotors.com>
   To:        "Joe Durre" <JDurre@karmaautomotive.com>
   Subject:   Recall: LA Office

   Darren Post would like to recall the message, "LA Office".




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                                                                            Page_1
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                                                                          Exhibit_11
                                                                            Page_1
To:      Stevens, Scott[Scott.Stevens@vector.com]
Cc:      Case  8:20-cv-02104-JVS-DFM Document 1 Filed 10/30/20 Page 104 of 107 Page ID #:104
         Brian Green[BGreen@karmaautomotive.com]
From:    Joe Durre[joe.durre@lordstownmotors.com]
Sent:    Mon 9/21/2020 1:28:24 PM (UTC-07:00)
Subject: RE: PREEvision Overview

Hi Scott,

Looks good to meet Wed. at 12PST. I’ll get with Brian on major content to focus on. Most users will be here in Irvine, CA. but we
are all WFH (no building yet) so this will need to be an MS Teams meeting format and not in person.

Getting started with the latest version would be great.

Thanks,
Joe

From: Stevens, Scott <Scott.Stevens@vector.com>
Sent: Monday, September 21, 2020 8:36 AM
To: Joe Durre <joe.durre@lordstownmotors.com>
Subject: RE: PREEvision Overview

Hello Joe,

Very good. I’ll asked the sales team to create a quote using the numbers you provided below and subscription licenses. I’ve
already reached out the the Global product line manager to get an update on the Vector-hosted option for consideration. As far as
I know they were just completing the T&Cs.

Last week, I started working on some planning for the training. Since you have enough users for a Lordstown group class, we just
need to discuss the contents so that we can give you a quote. We have some flexibility to combine or exclude topics, based on you
initial use cases. Let’s setup a call this week to review those details. How about Wednesday 11 or 12 PST?

We can get you started right away with test installs this week. A new release will be available today or tomorrow. I’ll provide
download and licensing instructions as soon as it is available.

Best regards,

Scott

From: Joe Durre <joe.durre@lordstownmotors.com>
Sent: Friday, September 18, 2020 8:11 PM
To: Stevens, Scott <Scott.Stevens@vector.com>
Cc: Training <Training@vector.com>
Subject: RE: PREEvision Overview

Hi Scott,

11, plus an admin.




                                                                                                                 Exhibit_12
                                                                                                                   Page_1
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Thanks,
Joe

From: Stevens, Scott <Scott.Stevens@vector.com>
Sent: Monday, September 14, 2020 7:40 AM
To: Joe Durre <joe.durre@lordstownmotors.com>
Cc: Training <Training@vector.com>
Subject: RE: PREEvision Overview

++ Training

Hi Joe,

Sure. I’ve added our training department to this thread. How many people would you like to include in the training quote?

Best regards,

Scott

From: Joe Durre <joe.durre@lordstownmotors.com>
Sent: Friday, September 11, 2020 7:57 PM
To: Stevens, Scott <Scott.Stevens@vector.com>
Subject: RE: PREEvision Overview

Hi Scott,

Can you get me a training quote? I believe the beginning one was 4 days.

Thanks,
Joe

From: Stevens, Scott <Scott.Stevens@vector.com>
Sent: Wednesday, August 26, 2020 1:10 PM
To: Joe Durre <joe.durre@lordstownmotors.com>; Anderson, Tony <Tony.Anderson@vector.com>
Cc: Stark, Alex <Alex.Stark@vector.com>; George Huan <george.huan@lordstownmotors.com>; Brian Green
<brian.green@lordstownmotors.com>; Steve Punak <steve.punak.ext@lordstownmotors.com>; Zak Stelmaszek
<Zak.Stelmaszek@lordstownmotors.com>; Andre Beduschi <Andre.Beduschi@lordstownmotors.com>; Vino Pathmanathan
<Vino.Pathmanathan@lordstownmotors.com>; Bradley Westerhoff <bradley.westerhoff@lordstownmotors.com>
Subject: RE: PREEvision Overview

All: Thank you for time and very good questions. Attached you will find the slides from the presentation yesterday. Next step is to
schedule demo to show an example that connects a requirement to a functional architecture down to signal on the bus. Scott to
coordinate with Zak to schedule the demo, as soon as possible.
                                                                                                                Exhibit_12
                                                                                                                  Page_2
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Best regards,

Scott Stevens

N.A. Product Line Director - PREEvision
Vector North America, Inc.
39500 Orchard Hill Place, Ste.400
Novi, MI 48375 USA
Direct (office): 248.504.6467


PREEvision – Model-Based E/E Development

Tell us how we are doing: https://vector.com/vi feedback sales en.html




-----Original Appointment-----
From: Stevens, Scott
Sent: Monday, August 24, 2020 1:24 PM
To: Stevens, Scott; joe.durre@lordstownmotors.com; Anderson, Tony
Cc: Stark, Alex; George Huan; Brian Green; Steve Punak; Zak Stelmaszek; Andre Beduschi; Vino Pathmanathan; Bradley Westerhoff
Subject: PREEvision Overview
When: Tuesday, August 25, 2020 4:00 PM-5:00 PM (UTC-05:00) Eastern Time (US & Canada).
Where: WebEx

@joe.durre@lordstownmotors.com – please forward as needed.

Agenda:

      • Introductions
      • Overview of PREEvision
      • Discuss Use Cases for Lordstown




   Scott Stevens invites you to join this Webex meeting.




   Meeting number (access code): 128 458 6910


   Meeting password: uqMknEQ4?38




   Tuesday, August 25, 2020
                                                                                                           Exhibit_12
                                                                                                             Page_3
4:00 pm | (UTC-04:00)
     Case             Eastern Time (US Document
           8:20-cv-02104-JVS-DFM       & Canada) |1 1 Filed
                                                      hr    10/30/20 Page 107 of 107 Page ID #:107




            Join meeting




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You can also dial 62.109.219.4 and enter your meeting number.




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